      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 1 of 74




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                IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW MEXICO

DREAMSTYLE REMODELING, INC., a           Case No.
New Mexico corporation; DREAMSTYLE
REMODELING OF IDAHO, LLC, an
Idaho limited liability company          VERIFIED COMPLAINT
                                         VIOLATION OF THE SHERMAN
            Plaintiffs                   ACT, CLAYTON ACT, AND FOR
                                         ANTITRUST AND UNFAIR
      v.                                 COMPETITION; WRONGFUL
                                         TERMINATION; BREACH OF
RENEWAL BY ANDERSEN, LLC, a              CONTRACT; FRAUD
Minnesota limited liability company;
RENEWAL BY ANDERSEN
CORPORATION, a Minnesota corporation;    DEMAND FOR JURY TRIAL
ANDERSEN CORPORATION, a
Minnesota corporation                    Date Filed:   November 20, 2019
                                         Trial Date:   Not Set,




                                        -1-
Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 2 of 74




                           TABLE OF CONTENTS
NATURE OF THE ACTION                                                     4
THE PARTIES                                                              6
JURISDICTION, VENUE, AND INTERSTATE COMMERCE                             7
FACTUAL BACKGROUND
  A. The Four Retailer Agreements                                        9
  B. Substantive Provisions in Each Retailer Agreement                  17
RELEVANT MARKETS AND RENEWAL’S MARKET POWER
  A. Replacement Window and Door Market                                 25
  B. Renewal’s Market Power                                             26
BARRIERS TO ENTRY                                                       27
RENEWAL’S OVERALL SCHEME OF EXCLUSIONARY AND                            27
ANTI-COMPETITIVE CONDUCT
RENEWAL WRONGFULLY TERMINATED ITS RELATIONSHIP
WITH DREAMSTYLE
  A. Defendants Breached the Retailer Agreements with Plaintiffs
     by Failing to Pay for Warranty and Other Service Repairs to
     Defendants Customers                                               31
  B. Defendants Breached the Retailer Agreements with Plaintiffs
     by Failing to Adhere to Pricing Terms and by Shipping Defective
     Products                                                           31
  C. Defendants Wrongfully Terminated, Cancelled, or otherwise          34
     Wrongfully Refused to Extend the Four Retailer Agreements
  D. Plaintiffs Have Invested Tens of Millions of Dollars               41
     Promoting Renewal
  E. Dreamstyle Has Been Damaged by the Wrongful Termination            43
     and Illegal Take-over of its Exclusive Territories, Customers,
     and Loss of Goodwill and Interruption to its Business Operations
  F. Renewal Intentionally Interfered with Numerous Business            46
     Opportunities and Third-Party Agreements of Dreamstyle




                                      -2-
Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 3 of 74




CLAIMS FOR RELIEF
I.     Violation of the Sherman Act 15 U.S.C. §1                    51
       Contract, Commination, or Conspiracy in Restraint of Trade
II.    Violation of the Sherman Act 15 U.S.C. §2                    52
       Unlawful Monopolization
III.   Violation of the Sherman Act 15 U.S.C. §2                    53
       Attempted Monopolization
IV.    The Exclusivity Clause of the Retailer Agreements Violate    54
       Section 3 of the Clayton Act
V:     Violations of Arizona Antitrust Act                          56
       A.R.S. §44-1401 to §44-1416
VI.    Violations of Idaho Competition Act                          57
       Idaho Code Ann. §48-101 to §48-118
VII.   Violations of New Mexico Unfair Practices Act                58
       NMSA §57-1-1 to §57-1-19
VIII. Violation of Federal Franchise Rule                           59
      16 C.F.R. §436
IX.    Violation of Minnesota Franchise Act                         60
       Minn. Stat. §80C.01
X.     Violation of Minnesota Unfair Practices Statute              61
       Minn. Stat. §80C.14
XI.    Wrongful Termination – Breach of Contract                    63
XII.   Tortious Interference with Contract                          64
XIII. Breach of Contract                                            66
XIV. Fraudulent Inducement                                          67
XV.    Common Law Fraud                                             69
XVI. Breach of the Covenant of Good Faith and Fair Dealing          70


PRAYER FOR RELIEF                                                   70
REQUEST FOR TRIAL BY JURY                                           71



                                        -3-
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 4 of 74




       Plaintiffs Dreamstyle Remodeling, Inc., and Dreamstyle Remodeling of Idaho, LLC
(collectively “Dreamstyle” or “Plaintiffs”) for their complaint against Defendants Renewal
by Andersen LLC, Renewal by Andersen Corporation, and Andersen Corporation
(collectively “Renewal” or “Defendants”), states and alleges as follows:
                              NATURE OF THE ACTION
       1.     Plaintiffs Dreamstyle brings this action against Defendants Renewal under
Sections 1 and 2 of the Sherman Act, 15 U.S.C. § 1 and 2, Sections 3 and 4 of the
Clayton Act (15 U.S.C. §14 and 15) as well as Arizona’s Antitrust Act, Ariz. Rev. Stat. §
44-1401, Idaho’s Competition Act, Idaho Code Ann. § 48-101, and New Mexico’s Unfair
Practices Act, N.M. Stat. Ann. §57-1-1.
       2.     Plaintiffs have initiated this litigation in response to Defendants’ elaborate
scheme of anti-competitive conduct devised to retain its monopoly power in the
replacement window and door market by improperly and illegally foreclosing Dreamstyle
and others from competing in the market.
       3.     Specifically, Defendants’ anti-competitive conduct as further described
below includes engaging in exclusive dealing by forcing its retailers, including Plaintiffs,
to sell exclusively Renewal / Andersen products, restricts Plaintiffs’ ability to market,
purchase, sell, or distribute to its ultimate residential retail customers window and door
products manufactured, sold and distributed by other manufacturers (e.g., Jeld-Wen,
Pella Corp, Ply Gem, ProVia, Marvin, Milgard), as well as non-window and door
products (e.g. sunrooms, patio rooms, kitchen and bath products, stucco, and other home
improvement related products).
       4.     In an attempt to maintain its monopoly position in the replacement window
and door market in the relevant geographic markets, Defendants have acted in ways that are
patently exclusionary, make no economic sense, and are purely anti-competitive. For

                                               -4-
         Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 5 of 74




example, despite the fact that Dreamstyle was (until February 1, 2019) one of Renewal’s
largest retailers and had grown its orders with Renewal for seven consecutive years by an
average of thirty-five percent while maintaining excellent customer satisfaction scores, on
January 31, 2019, Renewal abruptly terminated its contractual relationship with Dreamstyle
in all four of Dreamstyle’s markets (Northern Arizona; Tucson, Arizona; Boise, Idaho; and
New Mexico). While Renewal claims that several alleged retailer agreement violations
form the basis for Dreamstyle’s termination, the primary motivation behind Renewal’s
actions stem from its desire to maintain its monopoly position and to illegally control its
retailer affiliates / franchisees by ensuring that no competing brands or non-window or door
products are marketed or sold to customers. Dreamstyle, recognizing that the market
demanded non-Renewal products, articulated to Renewal it’s desire to sell additional brands
and products, including the obvious pro-competitive effects of doing so, but was
subsequently abruptly terminated as a Renewal retailer in violation of both the antitrust laws
as well as the illegal retailer agreements.
         5.    This action also challenges under Section 1 of the Sherman Act, 15 U.S.C.
§1, a no-solicitation and no-hiring contract, combination, or conspiracy between Renewal
and its various corporate and other exclusive retailers pursuant to which Renewal
prohibited retailers from recruiting or hiring current or former employees and
independent contractors of Renewal or any Renewal retailer. As further described below,
Renewal enforced this agreement among its nearly 100 corporate and privately-owned
retailer stores and locations, as part of an unlawful contract agreement to restrict
competition which unfairly suppressed employee wages and unreasonably restrained
trade.
         6.    This action also alleges that, by wrongfully terminating Dreamstyle,
Renewal breached the retailer agreements. This action also alleges that Renewal engaged

                                                -5-
         Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 6 of 74




in tortious interference with Dreamstyle’s contractual relationships with numerous third-
party suppliers and Dreamstyle customers.
         7.    Finally, this action alleges that Defendants engaged in numerous actions in
violation of the franchise and anti-trust statutes of a number of states.
                                      THE PARTIES
         8.    Plaintiff Dreamstyle Remodeling, Inc. is a New Mexico corporation in good
standing, having its principal place of business for its New Mexico operations and main
administrative offices for the Plaintiff entities at 1460 North Renaissance Boulevard
Northeast, Albuquerque, New Mexico 87107. Dreamstyle Remodeling, Inc. also maintains
offices at 3732 East University Drive, Phoenix, Arizona 85034 (“Phoenix Operations”)
3925 Runway Drive, Tucson, Arizona 85705 (“Tucson Operations”) and 2485 Great
Western Drive, Prescott Valley, Arizona 86314 (“Northern Arizona Operations”).
         9.    Plaintiff Dreamstyle Remodeling of Idaho, LLC is an Idaho limited liability
company in good standing, having its principal place of business at 2728 South Cole Road
Suite 110, Boise, Idaho 83709.
         10.   Defendant Andersen Corporation (“Andersen”) is a Minnesota corporation
founded in 1903. Andersen maintains its manufacturing facility and principal place of
business at 100 Fourth Avenue North, Bayport, Minnesota 55003.
         11.   Defendant Renewal by Andersen Corporation (“Renewal Corp”) is a
Minnesota corporation formed and organized on or about June 8, 1998, and with its
principal place of business at 9900 Jamaica Avenue South, Cottage Grove, Minnesota
55016.
         12.   Defendant Renewal by Andersen LLC (“Renewal LLC”) is a Minnesota
limited liability company which is the successor entity to Renewal by Andersen Corporation
and was formed and organized on or about December 17, 2014. The sole member of

                                                -6-
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 7 of 74




Renewal by Andersen LLC is SLB Holdings Corporation which is a wholly-owned
subsidiary of Andersen Corporation. Renewal by Andersen LLC maintains is its principal
place of business at 9900 Jamaica Avenue South, Cottage Grove, Minnesota 55016.
             JURISDICTION, VENUE, AND INTERSTATE COMMERCE
       13.     For purposes of 28 U.S.C. §1332(c) Plaintiffs are citizens of New Mexico
as the main administrative offices for both Plaintiff entities is located at 1460 N Renaissance
Blvd NE, Albuquerque, NM 87107. Plaintiff Dreamstyle Remodeling of Idaho, LLC is also
a citizen of Idaho, its state of organization.
       14.     For purposes of 28 U.S.C. §1332(a) Defendants are Minnesota corporations
or limited liability companies each with their principal place of business located in
Washington County, Minnesota.
       15.     This Court also has original jurisdiction over the antitrust claims under 28
U.S.C. §1331 and pursuant to 28 U.S.C. §1337(a) as this action arises under Section 1 of
the Sherman Act, 15 U.S.C. §1, and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §15
and §26.
       16.     This Court has subject matter jurisdiction over the breach of contract,
wrongful termination, tortious interference with contract, fraudulent inducement, common
law fraud, and breach of the implied covenant claims in this action pursuant to 28 U.S.C.
§1332(a) because the amount in controversy on those claims exceeds $75,000, exclusive
of interests and costs, and the parties are citizens of different states.
       17.     This Court has supplemental jurisdiction over Plaintiffs’ state antitrust,
unfair practices, and franchise claims under 28 U.S.C. §1367(a) because those claims are
so related to the federal claims that they form part of the same case or controversy. All of
Plaintiffs’ claims are based upon a common nucleus of operative facts, and the entire
action commenced by this Complaint constitutes a single case that should ordinarily be

                                                  -7-
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 8 of 74




tried in one judicial proceeding.
       18.    28 U.S.C. §1367(c) does not apply because (1) none of Plaintiffs’ state law
claims raise novel or complex issues of state law; (2) Plaintiffs’ state law claims do not
substantially predominate the claims over which the district court has original jurisdiction;
and (3) there are no compelling reasons for declining jurisdiction.
       19.    Venue is proper in the District Court for the District of New Mexico pursuant
to 28 U.S.C. §1391(c)(2). New Mexico is where all Plaintiffs maintains their primary
administrative offices, business operations, and nerve center where their officers conduct
the Plaintiffs’ important business.
       20.    Venue is proper in the District Court for the District of New Mexico pursuant
to 28 U.S.C. §1391(b)(2) because a substantial part of the events or omissions giving rise
to this dispute largely occurred in this judicial district – the State of New Mexico. Venue
is also proper in this District pursuant to Section 1 of the Sherman Act, 15 U.S.C. §1, and
Section 12 of the Clayton Act, 15 U.S.C. §22 because Defendants have regularly
transacted business in this District and the State of New Mexico.
       21.    This Court has personal jurisdiction over the Defendants because, inter alia,
(a) the action arises from contracts with residents of New Mexico which were to be
performed in whole or part in New Mexico; (b) Defendants transacted business throughout
the United States, including in this District; (c) Defendants have licensed and sold
merchandise throughout the United States, including in this District; (d) Defendants have
had in the past and continue to maintain substantial, continuous, and systematic activities
and contacts with New Mexico which are directly related to Plaintiffs’ claims and causes of
action; and (e) Defendants were engaged in an illegal anti-competitive scheme that was
directed at and had the intended effect of causing injury to persons residing in, located in, or
doing business throughout the United States, including in this District.

                                                 -8-
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 9 of 74




       22.    Plaintiffs comprise an affiliation of remodeling contractors who purchase new
replacement window, door, and other home improvement products and input them into
interstate commerce throughout the Western United States including Arizona, Colorado,
Idaho, New Mexico, and Texas.
       23.    Plaintiffs and Defendants are engaged in interstate commerce and in activities
substantially affecting interstate commerce, and the conduct alleged herein substantially
affects the flow of interstate trade and commerce.
                                   FACTUAL BACKGROUND
       A.     The Four Retailer Agreements
       24.    Since 1989, President and founder Larry A. Chavez, has built Dreamstyle
Remodeling’s home remodeling business, initially with the sale and installation of sunroom
products designed and manufactured by Four Seasons Sunrooms and through the sale and
installation of spas through a related entity, Spas Southwest, Inc.
       25.    Chavez and Dreamstyle Remodeling became successful in the home
remodeling business, and in the fall of 2006, Chavez was offered the opportunity to
purchase and acquire, and to become the exclusive New Mexico “Retailer,” for various
window and door products manufactured by Renewal by Andersen Corporation (hereinafter
“Renewal Corp”) and its parent corporation, Andersen Corporation.               Dreamstyle
Remodeling was also authorized and directed to reference itself in all print, radio, and
television advertising as “Renewal by Andersen of New Mexico, brought to you exclusively
by Dreamstyle Remodeling, Inc.” or similar phraseology.
       26.    In or about May 2007, Dreamstyle Remodeling and Renewal Corp entered
into a “Retailer Agreement” which defined the various obligations, fees, and payments that
Dreamstyle would be required to pay to Renewal (the “New Mexico Agreement”).
       27.    The New Mexico Agreement included a stated term of five years and further

                                                 -9-
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 10 of 74




provided that it could be renewed in successive five-year periods subject to a 180-day
advance written notification request requirement. See Exhibit E-pg 5 ¶14, and Exhibit E-pg
16 ¶41, respectively.
       28.    The New Mexico Agreement further provided that Dreamstyle Remodeling
would have the exclusive right to market and sell Renewal Corp products on an installed
basis to end-user residential customers throughout the designated Primary Market Area.
The designated Primary Market Area consisted of the majority of the state of New Mexico.
See Exhibit E- pg 2 at ¶6.
       29.    The New Mexico Agreement further required Dreamstyle Remodeling to
train its sales, marketing, and construction personnel in strict accordance with the “Renewal
System” and to pay for its personnel to attend various training sessions provided by
Renewal Corp in Minnesota and to reimburse Renewal Corp for any expenses that it
incurred in training Dreamstyle Remodeling’s personnel. See Exhibit E-pg 4 at ¶9.
       30.    During the first several years, Dreamstyle Remodeling grew its remodeling
business, and in particular the sale and installation of Renewal by Andersen window and
door products. At the end of 2008, Chavez was offered by Renewal Corp the opportunity to
expand into and acquire another “exclusive” Retailer Agreement, this time for the Northern
Arizona market area.
       31.    In January 2009, Dreamstyle Remodeling and Renewal Corp entered into a
second Retailer Agreement, which also contained an exclusive right to market and sell
Renewal by Andersen products on an installed basis to end-user residential customers
throughout the designated Primary Market Area, a five-year duration, and the right to renew
or extend the agreement upon giving 180-days prior written notice. See Exhibit A pg 18,
¶41. The Northern Arizona Agreement.
       32.    In the second Retailer Agreement, the designated Primary Market Area

                                               - 10 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 11 of 74




centered in and around Flagstaff, Arizona but also extended to Supai (Grand Canyon) to the
north, Seligman to the west, Winslow to the east, and Prescott / Prescott Valley to the south
(approximately 15,000 square miles) (“Northern Arizona Agreement”).
       33.    The Northern Arizona Agreement was substantially similar in form and
content to the New Mexico Agreement with the exception of the designation as to the
market or territory to be included and the non-Renewal Products which could be offered.
       34.    In November 2009, Dreamstyle Remodeling and Renewal Corp entered into a
third Retailer Agreement which contained again an exclusive right to market and sell
Renewal by Andersen products on an installed basis to end-user residential customers
throughout the designated Primary Market Area, a five-year duration, and the right to renew
or extend the agreement upon giving 180-days prior written notice.
       35.    In the third Retailer Agreement, the designated Primary Market Area centered
in and around Tucson, Arizona, but also extended to Red Rock and Oracle to the north, San
Pedro to the west, past Benson to the east, and past Green Valley to the south
(approximately 5,000 square miles) (“Tucson Agreement”).
       36.    The Tucson Agreement was substantially similar in form and content to the
Northern Arizona Agreement with the exception of the designation as to the market or
territory to be included and the non-Renewal Products which could be offered.
       37.    In May 2012, the New Mexico Agreement technically expired according to
its terms (the five-year period having lapsed); however, Renewal Corp continued to allow
Dreamstyle Remodeling to market exclusively and sell Renewal by Andersen products on
an installed basis to end-user residential customers past the expiration date. Dreamstyle
Remodeling did not timely request in writing (within the 180-day period) that the agreement
be extended, and Renewal Corp did not cease to take new orders or otherwise offer the New
Mexico territory to any other distributor, affiliate, retailer, or ownership group. Both

                                               - 11 -
        Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 12 of 74




Dreamstyle Remodeling and Renewal Corp continued to operate as if the expired agreement
was in full force and effect and without regard to the stated expiration date.
        38.    Subsequent to the stated expiration date, Renewal Corp tendered another New
Mexico Agreement which was later executed by Dreamstyle Remodeling (“Second New
Mexico Agreement”). The Second New Mexico Agreement extended through April 30,
2017.
        39.    On January 31, 2014, the Northern Arizona Agreement expired according to
its terms (the five-year period having lapsed). Dreamstyle Remodeling did not timely
request in writing (within the 180-day period) that the agreement be extended, and Renewal
Corp did not cease to take new orders or otherwise offer the Northern Arizona territory to
any other distributor, affiliate, retailer, or ownership group.
        40.    Although Dreamstyle Remodeling did not formally seek to extend the
Northern Arizona Agreement in writing as required by ¶41, Renewal Corp continued to
accept new orders which had manufacturing, shipping, and installation dates well beyond
the January 31, 2014 expiration date.
        41.    On January 20, 2014, Dreamstyle Remodeling and Renewal Corp agreed to
renew the Northern Arizona Agreement with an effective date of February 1, 2014,
extending for another five (5) year term, expiring January 31, 2019, (“Second Northern
Arizona Agreement”). A true and correct copy of the Second Northern Arizona Agreement
is attached hereto as Exhibit A.
        42.    Beginning in early 2014, Renewal Corp advised Chavez of the availability of
yet another exclusive market, this time in and around San Diego, California. In response to
the solicitation from Renewal Corp, Chavez prepared and submitted various business plans,
financial documents, and marketing and sales projections to Renewal for consideration.
        43.    Another local Renewal ownership group, Moore Holdings, was already

                                                  - 12 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 13 of 74




selling Renewal and Andersen products in the central and northern California markets under
similar retailer agreements as those entered by Dreamstyle Remodeling.         The Moore
ownership group actively pursued the acquisition and award of the San Diego market from
Renewal Corp, but due to Dreamstyle Remodeling’s demonstrated success in New Mexico,
Northern Arizona, and Tucson, Renewal Corp awarded the San Diego market to Dreamstyle
Remodeling and the Chavez ownership group.
       44.    In order to be awarded the San Diego market, Renewal and Andersen
required that Dreamstyle make a franchise fee payment of $67,000 ($33,000 to Renewal and
$34,000 to Andersen Corp. Renewal also demanded and required that Dreamstyle maintain
its prospects, customers, and sales information in Renewal’s proprietary customer
relationship management system (“CRM “) called “Enabled+.”
       45.    Following notice of award of the San Diego market, the Chavez ownership
group formed Dreamstyle Remodeling of San Diego, Inc., a California corporation, as a
separate but wholly-owned corporation of the Chavez ownership group, which is owned and
controlled by its sole shareholder, President and CEO, Larry A. Chavez.
       46.    In June 27, 2014, Dreamstyle Remodeling and Renewal Corp entered into a
Fourth Retailer Agreement which contained again an exclusive right to market and sell
Renewal by Andersen products on an installed basis to end-user residential customers
throughout the designated Primary Market Area, a five-year duration, and the right to renew
or extend the agreement upon giving 180-days prior written notice as required by ¶41.
       47.    In the Fourth Retailer Agreement, the designated Primary Market Area
centered in and around San Diego, California but included the entirety of San Diego County
(approximately 4,500 square miles) and had a stated term date extending through June 30,
2019 (See ¶14) (the “San Diego Agreement”). A true and correct copy of the San Diego
Agreement is attached hereto as Exhibit B. References to the San Diego Agreement and

                                              - 13 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 14 of 74




related allegations relating to San Diego herein are provided for completeness only. In July,
2019, Dreamstyle Remodeling of California, Inc. fka Dreamstyle Remodeling of San Diego,
Inc. filed a separate complaint against these same Defendants for disputes specific to the
Dreamstyle’s San Diego operations. See 3:19-cv-01324-L-BLM, Dreamstyle Remodeling
of California, Inc. v. Renewal by Andersen, LLC et al, U.S. District Court, Southern District
of California.
       48.       On October 31, 2014, the Tucson Agreement expired according to its terms
(the five-year period having lapsed). Although Dreamstyle Remodeling did not timely
request (within the 180-day period as required by ¶41) that the agreement be extended,
Renewal Corp did not cease to take new orders or otherwise offer the Tucson territory to
any other distributor, affiliate, retailer, or ownership group.
       49.       Although Dreamstyle Remodeling did not formally seek to extend the Tucson
Agreement in writing as required by ¶41, Renewal Corp and its successor entity Renewal
LLC continued to accept new orders which had manufacturing, shipping, and installation
dates beyond the October 31, 2014, expiration date.
       50.       During the thirty-one (31) month period of November 2014 through June
2017, Dreamstyle Remodeling, Renewal Corp, and Renewal LLC continued to operate as if
the Tucson Agreement was still in full force and effect. In the thirty-one-month period
following expiration, Renewal did not cease to take new orders or otherwise offer the
Tucson territory to any other distributor, affiliate, retailer, or ownership group.
       51.       On or about December 17, 2014, Renewal by Andersen LLC (Renewal LLC)
was organized and formed as a limited liability company by filing articles of organization
with the Minnesota Secretary of State. Renewal LLC is the successor entity to Renewal
Corp following its conversion from a corporation to a limited liability company.
       52.       Subsequent to the formation of the limited liability company, the day-to-day

                                                  - 14 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 15 of 74




business operations, manufacturing processes, shipping, and all other administrative and
contractual agreements of Renewal Corp were merged or otherwise acquired by Renewal
LLC.
       53.    Renewal LLC is the successor in interest to Renewal Corp through operation
of law due to: (a) Renewal LLC has expressly or impliedly assumed the obligations of
Renewal Corp; (b) there has been a formal successor or merger documents filed with the
Minnesota Secretary of State; (c) the transaction between Renewal LLC and Renewal Corp
is a de facto merger; (d) Renewal LLC is a mere continuation of its predecessor Renewal
Corp; (e) there is a commonality of ownership between Renewal LLC and Renewal Corp;
(f) both Renewal Corp and Renewal LLC maintain the identical principal executive offices
(g) Renewal LLC continued without interrupting the day-to-day operations of Renewal
Corp through common facilities and common management, and through the continued use
of common computerized systems.1
       54.    On June 23, 2017, Dreamstyle Remodeling and Renewal agreed to renew the
Tucson Agreement with a back-dated effective date of November 1, 2014, extending for
another five (5) year term, expiring October 31, 2019 (“Second Tucson Agreement”). A
true and correct copy of the Second Tucson Agreement is attached hereto as Exhibit C.
       55.    In early 2015, Renewal advised Chavez of the availability of yet another
exclusive market, this time in and around Boise, Idaho. In response to the solicitation from
Renewal, Chavez prepared and submitted various business plans, financial documents, and
marketing and sales projections to Renewal for consideration.


1
       Due to the merger, acquisition, or succession in interest, there is a commonality of
interest between Renewal Corp and Renewal LLC, and the obligations of one are the
obligations of the other. For purposes of readability, Renewal Corp and Renewal LLC
are hereinafter collectively referred to as “Renewal” unless the context so otherwise
requires.
                                              - 15 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 16 of 74




      56.    In Boise, another Renewal affiliate, the Medrano ownership group, was
already selling Renewal and Andersen products in the Boise market under Renewal’s
standard form Retailer Agreement which was similar to those entered into by Dreamstyle
Remodeling. According to Renewal, the Medrano ownership group was failing, and though
they requested retention of ownership of the market, Renewal Corp awarded the Boise
market to Dreamstyle based on Dreamstyle’s demonstrated and continuing success in New
Mexico, Northern Arizona, Tucson, and San Diego.
      57.    Following notice of award of the Boise market, the Chavez ownership group
formed Dreamstyle Remodeling of Idaho LLC, an Idaho limited liability as a separate but
wholly owned limited liability company of the Chavez ownership group which is owned
and controlled by its sole shareholder, President and CEO, Larry A. Chavez.
      58.    In June 2015, Dreamstyle Remodeling and Renewal entered into a Fifth
Retailer Agreement which again contained an exclusive right to market and sell Renewal by
Andersen products on an installed basis to end-user residential customers throughout the
designated Primary Market Area, a five-year duration, and the right to renew or extend the
agreement upon giving 180-days prior written notice.
      59.    In the Fifth Retailer Agreement, the designated Primary Market Area centered
in and around Boise, Idaho but extended to the Oregon state border to the west, past
Cuprum to the north, past Ketchum to the east and to the Nevada state border to the South
(approximately 25,000 square miles) (“Boise Agreement”). A true and correct copy of the
Boise Agreement is attached hereto as Exhibit D.
      60.    On April 30, 2017, the Second New Mexico Agreement technically expired
according to its terms (the five-year period having lapsed). Dreamstyle Remodeling did not
timely request in writing (within the 180-day period as required by ¶41) that the agreement
be extended, and Renewal did not cease to take new orders or otherwise offer the New

                                              - 16 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 17 of 74




Mexico territory to any other distributor, retailer, or affiliate ownership group.
       61.    Even though Dreamstyle Remodeling did not formally seek to extend the
Second New Mexico Agreement in writing as required by ¶41, Renewal continued to accept
new orders which had manufacturing, shipping, and installation dates well beyond the April
30, 2017 expiration date.
       62.    On June 23, 2017, Dreamstyle Remodeling and Renewal agreed to renew the
Second New Mexico Agreement with a back-dated effective date of May 1, 2017, extending
for another five (5) year term, expiring April 30, 2022 (“Third New Mexico Agreement”).
A true and correct copy of the Third New Mexico Agreement is attached hereto as Exhibit
E.
       B.     Substantive Provisions in Each Retailer Agreement
       63.    Collectively, as of June 23, 2017, the Chavez ownership group, comprising
Dreamstyle Remodeling, Inc., Dreamstyle Remodeling of San Diego, Inc., and Dreamstyle
Remodeling of Idaho, LLC (hereinafter collectively “Dreamstyle”) and Renewal had in
place five separate Retailer Agreements with the following stated terms (1) Northern
Arizona – expiring January 31, 2019; (2) San Diego – expiring June 30, 2019; (3) Tucson
Arizona – expiring October 31, 2019; (4) Boise – expiring May 31, 2020, and (5) New
Mexico – expiring April 30, 2022.
       64.    With the general exception as to the designation of the Market area or region,
the substantive provisions of each of the Four Retailer Agreements between Dreamstyle and
Renewal are nearly identical.
       65.    Each Retailer Agreement was authored by Renewal.
       66.    Each Retailer Agreement required Dreamstyle to follow and match its
business practices to conform to the “Renewal System” regarding installation procedures,
marketing, and sales approach. (Retailer Agreements at ¶1).

                                                 - 17 -
          Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 18 of 74




          67.   Each Retailer Agreement required Dreamstyle to display and promote only
“Renewal Products” which were specifically identified (e.g. Renewal by Andersen
manufactured windows and doors). (Retailer Agreements at ¶4).
          68.   Each Retailer Agreement required Dreamstyle to only use specified and
“approved” products and materials purchased from only designated “authorized suppliers”
in connection with Renewal Products and their installation. (Retailer Agreements at ¶5).
          69.   Each Retailer Agreement required Dreamstyle to “vigorously promote the
sale of Renewal Products throughout the Primary Market Area” and specifically prohibited
the marketing of Renewal Products outside the Primary Market Area. (Retailer Agreements
at ¶6).
          70.   Each Retailer Agreement granted Dreamstyle the exclusive right to use the
Renewal System for resale of Renewal by Andersen products to end-user residential
customers in the Primary Market Area and required Renewal to not accept and otherwise
prevent sales by other Renewal retailers in the same area. (Retailer Agreements at ¶7).
          71.   Each Retailer Agreement required Dreamstyle to prepare and submit detailed
annual business plans, provide detailed financial information of Dreamstyle and its
principal, Chavez, and comply with mandatory minimum sales quotas, service and
homeowner satisfaction commitments. (Retailer Agreements at ¶8).
          72.   Each Retailer Agreement required Dreamstyle to manage its day-to-day
operations to comply with the “Renewal System” and to pay all expenses associated with
said system, and require its employees and other personnel to attend various training
sessions at Renewal’s facilities in Minnesota as well as to require such individuals to
continually be trained on the Renewal System. (Retailer Agreements at ¶9).
          73.   Each Retailer Agreement required Dreamstyle to purchase buildings or
otherwise lease real estate and then furnish the same in a manner which had to be approved

                                               - 18 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 19 of 74




by Renewal. (Retailer Agreements at ¶10). Dreamstyle was thereafter also required to
maintain those facilities “in compliance with the Renewal System” or face premature
termination of the agreement. (Retailer Agreements at ¶14).
       74.    Each Retailer Agreement required Dreamstyle to pay a franchise fee in the
form of tens of thousands of dollars in payments to Renewal for sales materials, sales
samples, product samples, displays and brochures for the express purpose of marketing and
selling Renewal and Andersen branded products in Dreamstyle’s showrooms and at
customer in-home demonstrations.
       75.    Each Retailer Agreement prohibited Dreamstyle from displaying or selling
“non-Renewal Products” unless expressly provided otherwise. (Retailer Agreements at ¶10).
       76.    In the Northern Arizona, Tucson, and Boise Agreements, Dreamstyle was
authorized to sell ProVia entry doors. See Exhibit A pg 22; Exhibit C pg 20; and Exhibit D
pg 21. Renewal and ProVia have a separate partnership agreement regarding entryway
doors since Renewal does not directly manufacture or sell that product.
       77.    Under the New Mexico Retailer Agreement, Dreamstyle was authorized to
sell sunrooms, stucco, and kitchen and bath products; however, Dreamstyle was specifically
precluded from selling window or door products manufactured by Pella, Marvin,
Weathershield, Jeld-Wen, Caradco, Hurd, Pozzi, or any other similar regional or national
brands. See Exhibit E-pg 28 ¶ 5.
       78.    Each Retailer Agreement provided for an initial term of five years and the
option to extend in additional five-year increments. (Retailer Agreements at ¶¶14 and 41).
       79.    Each Retailer Agreement required Dreamstyle to display the Renewal by
Andersen name and logo on its vehicles, uniforms, stationary and all sales and marketing
materials. (Retailer Agreements at ¶14). See Figure 1 Exemplar on page 22 infra.
       80.    Each Retailer Agreement required Dreamstyle to “vigorously promote” the

                                               - 19 -
        Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 20 of 74




sale of Renewal Products for the entire five-year duration throughout each Primary Market
Area.    Failure to do so would result in the premature termination of the agreement.
(Retailer Agreements at ¶14).
        81.   In the event Renewal believed Dreamstyle was somehow violating or failing
to comply with its various obligations, the Retailer Agreements also specifically required
Renewal provide Dreamstyle with a minimum of 30-days written notice and an opportunity
to cure and correct any such alleged violations. (Retailer Agreements at ¶14). Despite such
requirement, Renewal never provided the 30-days written notice or opportunity to cure but
instead unilaterally terminated the agreements effective January 31, 2019.
        82.   Each Retailer Agreement contained a “Non-Competition” provision which
prevented Dreamstyle, Chavez, and every member of Dreamstyle’s directors, officers, key
management employees, and their family members from in any way participating in any
other business that engaged in the manufacture, sale, promotion, installation, or servicing of
any window or door products. (Retailer Agreements at ¶18).
        83.   Despite having separately stated durations and terms as noted in paragraph 63
above, according to Renewal, each Retailer Agreement purportedly allowed Renewal to
unilaterally terminate, refuse to extend, or otherwise cancel ALL agreements upon the
“expiration” of any single one.
        84.   Each Retailer Agreement also required that Dreamstyle (i) participate and pay
Renewal for various “national” marketing expenses; (ii) utilize and pay Renewal for the use
of its sales, marketing, sales tracking, and ordering software “Enabled+” with initial fees of
$20,000, quarterly mandatory “Hosting Fees,” of between $750 and $1,500 per Market, and
otherwise pay Renewal training-related fees. Collectively, Dreamstyle paid Renewal in
excess of $800,000 per year for these mandatory items.
        85.   In addition to having to pay Renewal for “national” marketing expenses, each

                                               - 20 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 21 of 74




Retailer Agreement mandated that Plaintiffs expend tens of millions of dollars in direct
marketing expenses for radio ads, television ads, print advertising (newspapers and
magazines), direct mailings of print advertising, other paid digital marketing such as Google
AdWords, Facebook and dozens of other social media and social networking sites
(“traditional marketing”) as well as millions of dollars for wages, salaries and other
expenses in having its employees attend and promote Renewal and Andersen products at
trade shows, local and regional home shows, in store placement booths at True Value
Hardware, Ace Hardware, and other similar stores, and in-person canvassing (“non-
traditional marketing”).
       86.    Each Retailer Agreement also mandated that Plaintiffs “actively” market and
promote Andersen, Renewal, and Renewal Products through the expenditure of hundreds of
thousands of dollars in other types of advertising of the Renewal brand products. Plaintiffs
were required to utilize specific Trade Names in their business operations and were required
to have their employees wear common tradename and trademarked “Renewal” branded
clothing and apparel; wrap Plaintiffs’ trucks, automobiles, and work trailers with Renewal
brand imagery; as well as, pay hundreds of thousands of dollars for Renewal brand signage
on administrative and retail business locations. As part of its marketing requirements,
Renewal required that advertising be done referencing only the Renewal Brand and with no
(or very limited) representations as to the individual company of Dreamstyle Remodeling or
Plaintiffs. Defendants mandated Plaintiffs participate in various marketing programs and
then would charge Plaintiffs $400,000 to $500,000 per year for the same. See Figure 1 for
an exemplar of the Renewal mark and brand.




                                               - 21 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 22 of 74




                           Figure 1 – Renewal by Andersen Mark.




       87.    Andersen and Renewal by Andersen provided “operational support” for a
fee and “assistance” to its retailers by way of specific requirements that retailers’
administrative staff, sales personnel, service, and installation technicians all attend
corporate-mandated training programs to learn the “Renewal Process.”          Defendants
would routinely evaluate Plaintiffs’ sales performance across departments and mandate
minimum levels of sales.     Plaintiffs were also subjected to quarterly “performance
reviews” regarding sales and comparisons with Defendants’ minimum levels of quarterly
and yearly sales growth percentages and volumes that Defendants mandated be met.
When sales growth did not meet Defendants expectations (regardless of the cost or levels
of marketing efforts by Plaintiffs), Defendants demanded that corrective action be taken
by Plaintiffs. Similar demands were not made by Defendants to other affiliates for
reasons including paid vacations or other cash incentives to Renewal / Andersen regional
representatives.
       88.    Renewal by Andersen and Andersen exercised significant operating control
over the “independent” affiliates and retailers including mandated minimum capital
investments, lines of credit to be maintained, and restrictions on which individuals could
have equity ownership in the “independent” affiliate.        Defendants mandated that
Dreamstyle Remodeling, Inc. close its Tucson Arizona call center operation and move the
facilities and personnel to Albuquerque New Mexico. When Larry Chavez opened a new
unrelated bath business in Denver Colorado in January 2018, Defendants objected

                                             - 22 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 23 of 74




claiming that such an operation would “divert” Dreamstyle’s focus and attention away
from what Defendants mandated should be its primary and principal focus – the exclusive
marketing and sale of Renewal Products in Plaintiffs other markets. Defendants also
claimed that Chavez’ formation of a new business entity and opening a bath operation in
Denver constituted a breach of the Retailer Agreements since it was being operated in a
Renewal Market area controlled by another Renewal affiliate. Defendants also objected
to Plaintiff Dreamstyle Remodeling, Inc. from marketing or selling in undesignated /
unassigned open territories even when those territories were in close proximity or
adjoining to Plaintiffs’ existing facilities and assigned zip-codes.
       89.    Renewal by Andersen and Andersen exercised significant operational
control over the “independent” affiliates and retailers by, among other things, placing
restrictions on the individuals who were authorized to act as managers or could even be
hired by Dreamstyle, each of whom had to be specifically approved in writing by
Renewal by Andersen. (Retailer Agreements at ¶9). In one instance, Renewal’s vice
president Jeanne Junker mandated attendance at an off-site meeting and directed the firing
of one of Plaintiff Dreamstyle Remodeling, Inc’s general manager John Poole. In another,
Junker advised that Larry Chavez that would be permitted to hire Ken Biddle as General
Manager for the San Diego territory “over her dead body.”
       90.    Renewal by Andersen and Andersen exercised significant operating control
over the “independent” affiliates and retailers including mandating minimum sales
quotas, revenue requirements, customer satisfaction goals, and the unilateral ability to
directly negotiate, or renegotiate, contract terms between an “affiliate” and its end-user
residential customer. In one instance, Defendants mandated (Dave Crowell screaming at
Plaintiffs’ President Larry Chavez) that Dreamstyle Remodeling, Inc. settle and pay more
than $50,000 as damages in a copyright infringement litigation with one of Defendants

                                                - 23 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 24 of 74




“preferred” marketing vendors.       In another instance, after themselves supplying
defectively manufactured products, Defendants unilaterally cancelled one of Dreamstyle
Remodeling, Inc.’s contract with a customer (Hageman) after the majority of work and
expense had already been incurred, forcing Dreamstyle Remodeling, Inc. to lose more
than $26,000 in revenues.
      91.    Renewal by Andersen and Andersen exercised significant operating control
over the “independent” affiliates and retailers by requiring Dreamstyle and the other
affiliates to maintain their prospects, customers, and sales information in Renewal’s
proprietary customer relationship management system (“CRM “), Enabled+. As part of
the CRM database, Defendants forced Plaintiffs to develop and pay tens of millions of
dollars for customer leads and to populate Defendants databases with customer contact
information and upon termination then promptly turned over those same leads to
Defendants’ other preferred affiliates without compensating Plaintiffs.
      92.    The cost to Dreamstyle in developing these prospects and sales leads is
significant. In 2018, the average cost per lead was more than $190. As of October 15,
2018, Dreamstyle has populated Renewal’s Enabled+ CRM with more than 165,5002
prospects. By forcing Dreamstyle to use this Renewal-controlled database, Renewal was
able to track each prospect and potential sales lead, and more importantly to steal
Dreamstyle’s prospects and leads for other Renewal affiliate groups without


2
        As of October 15, 2018, Dreamstyle had 165,541 prospects in the Enabled+
database which Dreamstyle developed with its own funds and resources. At that time,
Dreamstyle was increasing its customer prospect database by an additional 3,500+ per
month. Statistically, Dreamstyle’s conversion ratio by which a prospect will convert to a
sales presentation is 11% (~18,000). Of these 18,000 sales presentations, 28.2% will
result in an actual closed sale with an average price of $11,000. As of October 15, 2018,
Dreamstyle’s customer database has calculated a stream of revenue value in excess of
$48,500,000.
                                              - 24 -
         Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 25 of 74




compensating Dreamstyle.
         93.     As an affiliate or retailer, Plaintiffs were required to make payments to
Renewal by Andersen of more than $5,000 in the first six months of operation for
advertising fees, training fees, and fees for equipment in the form of sales training and sales
presentation kits, and for mandatory product samples which were required to be purchased
for use in the in-store “displays” that Renewal by Andersen mandated. Such fees paid by
Plaintiffs were not for goods sold at a bona fide wholesale price for resale to their end-user
residential customers. From August 2014 to August 2018, Plaintiffs also directly paid to
Renewal more than $600,000 for mandated Renewal advertising services.
               RELEVANT MARKETS AND RENEWAL’S MARKET POWER
A.       Replacement Window and Door Market
         94.     Replacement windows and doors are a relevant product market.
         95.     The replacement window and door industry is a subset of the 300 to 400
billion-dollar home improvement and remodeling market nationwide.                     Industry
professionals estimate that more than 40,000 individuals are employed in the window and
door market which has been expanding by three to six percent annually over the past five
years.
         96.     Due to the increase in residential real estate prices, homeowners are choosing
to improve their existing homes instead of purchasing new. With the advent of new and
more energy efficient window and door products, coupled with associated state and federal
energy tax credits, the replacement of existing windows and doors at around 15 years old is
generally considered advisable. In terms of a rate of return to investment, replacing
windows and doors ranks in the top two areas of home improvement.
         97.     While the window and door manufacturing industry itself is comprised of
approximately 100 manufacturers throughout the United States manufacturing wood,

                                                 - 25 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 26 of 74




composite, vinyl, aluminum and fiberglass framed products, Defendants are the largest
manufacturer having annual sales volume of more than four billion dollars.
       98.    Defendants maintain their leadership position in the new and replacement
window and door manufacturing and distribution through their collective retailer
agreements which provide for exclusive areas whereby an affiliate or retailer is not subject
to other competition from other manufacturers.
       99.    The relevant geographic market at issue in this litigation is the United States.
The vast majority of replacement window and doors purchased by remodeling contractors
and distribution chains (e.g. Home Depot, Lowes) are produced in the United States.
Defendants are the largest new and replacement window and door manufacturers in the
United States having a collective annual sales volume of more than four billion dollars.
B.     Renewal’s Market Power
       100.   Andersen Windows and Doors, through its parent company, Andersen
Corporation, and its affiliated entities and subsidiaries, is the number one manufacturer
and distributor of window and door products in North America based on both sales
volume and geographic locations. Renewal by Andersen Corporation and its successor
entity, Renewal by Andersen LLC, are wholly-owned subsidiaries of Andersen
Corporation, specializing in replacement window products.
       101.   In the United States, 93% of Renewal by Andersen locations are operated
by independently owned and operated retailers who have executed standard form Retailer
Agreements with either Renewal by Andersen LLC or Renewal by Andersen
Corporation. In 2017, Renewal by Andersen, through its seven (7) corporate stores and
ninety-plus privately owned retailers, had more than 1.5 billion dollars in revenue and
more than 106,000 residential projects completed. Renewal by Andersen boasts on its
corporate website that it is “the start-to-finish custom replacement window and door

                                               - 26 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 27 of 74




subsidiary of Andersen Corporation” and that it has the “top replacement window from
the most respected brand in the industry.”
                                   BARRIERS TO ENTRY
       102.    The relevant product market is characterized by high barriers to entry and
expansion. There are many reasons for this as it applies to potential new entrants and
existing competitors. First, the cost of developing a new, competing product is substantial
and would require tens of millions of dollars in design, engineering, and manufacturing
infrastructure for initial development and then tens of millions of dollars more to tailor the
product to specific customer needs and also to build an effective sales network.
       103.    Further, brand name recognition takes many, many years to develop.
Builders, developers, architects, and others must invest substantial time and money
educating themselves on the products, features, and installation requirements before they
will promote or specify any brand in the market. Moreover, the likelihood of construction
defects takes years to overcome, and new manufacturers must start at a local or regional
manufacturer level with an emphasis on a particularly small market segment and some
unique features (e.g., anti-fog, auto-tinting glass, etc.).
       104.    Additional barriers to entry exist in the national market by way of the
restrictions that Defendants have placed on the various marketing and advertising processes
required for any new manufacturer or seller to effectively and cost-efficiently compete.
Defendants routinely mandate agreements with both local and national advertising vendors
which prohibit such vendors from working for or with other companies who manufacture,
market, sell, or install other fenestration products.
          RENEWAL’S OVERALL SCHEME OF EXCLUSIONARY AND
                            ANTI-COMPETITIVE CONDUCT
       105.    As part of the Renewal Products line, Renewal does not manufacture or sell

                                                   - 27 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 28 of 74




“Entryway” type doors. Instead, Renewal partners with ProVia LLC which specializes in
door manufacturing for this type of product. As part of its typical Retailer Agreement with
Dreamstyle and the other affiliates, Renewal specifically permitted retailers to sell ProVia
entryway doors but no other ProVia products. Because of its billion-dollar plus buying
power, Renewal specifically prohibits ProVia from allowing its affiliates, including
Dreamstyle, to access ProVia’s online product databases, view ProVia’s distributor pricing
lists, or place orders for any other products which are manufactured by ProVia, such as
other door and window product lines.
       106.   According to Defendants, except for the New Mexico Agreement,
Dreamstyle, its affiliated companies, and its principals, owners and managers were
specifically prohibited from marketing, selling, or installing any other non-Renewal
products (excepting ProVia entry doors). In New Mexico, Dreamstyle was permitted to
sell some specific non-Renewal Products, including sunrooms, stucco, and kitchen and
bath products. See Exhibit E-pg 28, ¶5. Defendants actively prohibited Plaintiffs from
marketing or selling unrelated products in both its assigned territories and in other areas
of the western United States. Defendants also actively controlled the mix of Renewal
Products which could be sold by Plaintiffs claiming among other things that the sale of
Renewal’s Series 2 product would “cannibalize” potential sales of Renewal’s more
profitable Series 1 products.
       107.   Under the Second Northern Arizona Agreement, Renewal attempted to
restrict, in restraint of trade, Dreamstyle Remodeling’s marketing, sale, and installation of
every non-Renewal Product with the exception of ProVia entry doors. See Exhibit A pg 22.
       108.   Under the San Diego Agreement, Renewal attempted to restrict, in restraint of
trade, Dreamstyle Remodeling’s marketing, sale, and installation of every non-Renewal
Product. Dreamstyle was also prohibited from selling “Andersen Series 2” replacement

                                               - 28 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 29 of 74




windows. See Exhibit B pg 23.
       109.   Under the Second Tucson Agreement, Renewal attempted to restrict, in
restraint of trade, Dreamstyle Remodeling’s marketing, sale, and installation of every non-
Renewal Product with the exception of ProVia entry doors. See Exhibit C pg 20.
       110.   Under the Boise Agreement, Renewal attempted to restrict, in restraint of
trade, Dreamstyle Remodeling’s marketing, sale, and installation of every non-Renewal
Product with the exception of ProVia entry doors. See Exhibit D pg 21. Under the Boise
Agreement, Renewal further attempted to restrict Dreamstyle Remodeling’s marketing, sale,
and installation “Andersen Series 2” replacement windows.
       111.   Under the Third New Mexico Agreement, Renewal attempted to restrict, in
restraint of trade, Dreamstyle Remodeling’s marketing, sale, and installation of spas, swim
spas, stand-alone and built-in fireplaces and manufactured hearths as well as the sale of
incidental supplies related to those products (e.g. chlorine tablets, brushes, floats, exercise
equipment, wood pellets, and metal buckets). See Exhibit E pg 28.
       112.   Defendants required that for a company to become an “affiliate” offering the
Andersen and Renewal by Andersen products, that they agree to only sell Renewal and
Andersen products subject to termination if they carried or sold any competitor products.
       113.   Defendants required that in order for a company to become an “affiliate”
offering the Andersen and Renewal by Andersen products, that any company looking to
contract with Defendants sign a contract which requires that the company may only
purchase construction-related materials from manufacturers, distributors, and suppliers from
specified suppliers and distributors and they can be terminated if they purchase from non-
approved Andersen / Renewal vendors, suppliers, or manufacturers.
       114.   Defendants required that in order for a company to become an “affiliate”
offering the Andersen and Renewal by Andersen products, that any company looking to

                                                - 29 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 30 of 74




contract with Defendants sign a contract prohibiting that company’s owners, immediate
family members, directors, officers and all management-level employees, for a period of
five (5) years from becoming affiliated with any other company engaged in the sale,
promotion, installation or servicing of window and door products manufactured by
Andersen.
       115.   The contractual provisions which Defendants required that Plaintiffs sign in
order to carry the Andersen and Renewal by Andersen products restrict the ability of the
Plaintiffs and their owners, family members, and other personnel to trade or purchase from
other suppliers any windows, doors, construction-related supplies including caulking, foam,
trim, screws, cleaning products, and other construction-related materials in an attempt to
lessen competition in the relevant markets in violation of 15 U.S.C. §14.
       116.   The contractual provisions which Defendants required that Plaintiffs sign in
order to carry the Andersen and Renewal by Andersen products restrict the ability of the
Plaintiffs and their owners, family members, and other personnel from having any
involvement with Andersen and Renewal products in an attempt to lessen competition in the
relevant markets in violation of 15 U.S.C. §14.
       117.   The Defendants’ anti-competitive restrictions have damaged the Plaintiffs’
business, as such the Plaintiffs have been injured and are entitled to their actual damages in
an amount to be proven at trial. Plaintiffs are further entitled to treble damages for such
injuries, simple interest on their actual damages from the date of service of Plaintiffs’
complaint until paid and Plaintiffs’ attorney’s fees and costs as provided by 15 U.S.C.
§15(a).




                                                  - 30 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 31 of 74




      RENEWAL’S WRONGFUL TERMINATION OF ITS RELATIONSHIP
                                   WITH DREAMSTYLE
       A.      Defendants Breached the Retailer Agreements with Plaintiffs by
               Failing to Pay for Warranty and other Service Repairs to Defendants
               Customers
       118.    Under the retailer agreements, Plaintiffs are responsible to provide customer
servicing of Defendants products for which Renewal agreed to pay and reimburse Plaintiffs
the cost of providing such service. Over the past year, Plaintiffs have provided such service
at the request of Defendants and have billed for reimbursement. Despite having timely
submitted invoicing for such service, Defendants have refused and continue to refuse to pay
Plaintiffs for such services.
       119.    As of June 30, 2019, Renewal is indebted to Plaintiffs in excess of $30,000
which Defendants have failed to pay. Such failure to pay constitutes a breach of contract
entitling Plaintiffs to damages.
       B.      Defendants Breached the Retailer Agreements with Plaintiffs by
               Failing to Adhere to Pricing Terms and by Shipping Defective
               Products
       120.    Defendants have raised prices to Plaintiffs by failing to adhere to the pricing
provisions of the Retailer Agreements. Defendants raised prices by demanding changes to
the payment provisions and discounts previously enjoyed by Plaintiffs for timely and
prompt payment of invoices. Historically, Plaintiffs paid Defendants’ invoices within
fifteen days, thus entitling Plaintiffs to a two percent (2%) prompt payment discount.
According to the provisions of the Retailer Agreements, Plaintiffs could pay invoices on net
thirty-day terms if they chose. Without justification, Defendants accelerated the payment
due dates for all invoicing and stopped shipments of new orders.

                                                - 31 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 32 of 74




       121.   Defendants also raised the cost of operation to Plaintiffs by continually
shipping defective products which resulted in Plaintiffs having to incur significant
additional administrative costs associated with inspection and segregating defective
products, forcing Plaintiffs to incur additional costs in re-ordering corrective products, and
in numerous instances forcing Plaintiffs to issue credits or payments to their residential
home customers when the products supplied by Plaintiffs fail to meet the advertised
specifications for quality and performance.
       122.   Defendants raised the cost of operation to Plaintiffs by delaying shipment of
product and by stopping shipment to Plaintiffs even for orders placed prior to the January
31, 2019 “termination” date.
       123.   As described herein, Defendant Renewal gave Plaintiffs written notice of
termination of the Retailer agreements on May 7, 2018 and again on October 29, 2018.
Defendants also refused to extend the Northern Arizona agreement for an additional five
years. Although Tucson, New Mexico, and Idaho had contractual termination dates later in
2019 and through April 2022, Defendants have taken the position that the Retailer
Agreements all terminated on January 31, 2019 – as much as 39 months earlier than allowed
by the Retailer agreements.
       124.   Beginning in November 2017 and continuing through 2019, Defendants
unilaterally reduced quality of their products, especially the patio door products, sold to
Plaintiffs. Defendants reduced quality and increased their respective profits, by eliminating
the quality assurance, quality control, and packaging procedures previously utilized thereby
causing many more products to be damaged in transit and prior to delivery to Plaintiffs.
Since November 2017, Defendants have failed to meet the quality specifications of the
Retailer Agreements resulting in numerous product defects. See Exhibit X – December 14,
2017 VP Junker Patio Door Defects Memorandum.                Upon information and belief,

                                               - 32 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 33 of 74




Defendants have similarly reduced the quality of and packaging for their products sold to
other affiliates and retailers within the Renewal network.
       125.   To the extent the quality defects have adversely affected Plaintiffs’ ability to
sell and install products meeting the residential homeowner expectations,3 Defendants’
actions have had the practical effect of reducing the usable output of window and door
products Defendants are contractually bound to provide to Plaintiffs.
       126.   The quality defects have necessarily impaired the quality of windows and
doors sold by Plaintiffs and by other affiliates or retailers, and by Defendants themselves, to
the detriment of the consumers who ultimately buy them.
       127.   Defendants product quality defects and resulting delays associated with re-
ordering and re-shipment have caused damage to Plaintiffs reputation with its customers and
have caused Plaintiffs to incur substantial additional expenses.
       128.   When Plaintiffs complained about the ongoing quality defects, Defendants
threatened to terminate the Retailer Agreements and in fact terminated all Retailer
Agreements effective January 31, 2019.
       129.   By breaching and terminating its Retailer Agreements with Plaintiffs,
Renewal is effectively capitalizing on its superior market power forcing Plaintiffs to expend
tens of millions of dollars in continued advertising and other increased costs so that
Renewal can steal away the highly prized market areas and give them to other “favored”
retailers within the Renewal network.
       130.   Renewal’s actual breach of its contracts with Plaintiffs, and its unlawful
termination of those agreements (as described in more detail below), as well as completely


3
       See e.g. Exhibit Y, January 5, 2019 Letter from Dreamstyle Customer Alexander
Maller, Professor of Architecture, complaining of quality defects in the Andersen patio
door products.
                                                - 33 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 34 of 74




curtailing the supply of Renewal Products to Plaintiffs had the effect of restricting
competition in the regional markets which are the exclusive territories of Plaintiffs.
       131.   Due to Renewal’s actions, Plaintiffs incurred millions of dollars investing in
new samples, re-training of sales personnel, re-branding of vehicles and retail showrooms
and buildings, re-training of technical personnel, and increased marketing expenses which
are necessary to build and acquire an equivalent market share as a result of Renewal’s
breach and wrongful termination of the Four Retailer agreements.
       132.   Plaintiffs have calculated that re-branding to sell another window or door
manufacturer’s product line will take between nine (9) to twenty-four (24) months at a cost
of at least several hundred thousand dollars per month as well as other substantial capital
investments and may still be subject to substantial uncertainties.
       C.     Defendants Wrongfully Terminated, Cancelled, or otherwise
              Wrongfully Refused to Extend the Four Retailer Agreements
       133.   On May 7, 2018, Jeanne Junker, Vice President of Affiliate Retail Operations
and Information Systems Center for Renewal by Andersen (“VP Junker”), flew 1,300 miles
from Renewal’s corporate offices in Cottage Grove, Minnesota to Albuquerque, New
Mexico for a surprise meeting with Chavez.
       134.   Over the past twelve years, VP Junker and other corporate officers and
representatives from Renewal have been to Dreamstyle’s corporate offices in Albuquerque
nearly a dozen times so it was not uncommon for VP Junker to request a meeting with
Chavez.
       135.   While a visit from VP Junker was not uncommon, Plaintiffs found it odd that
VP Junker requested an off-site location for the May 7, 2018 meeting, did not provide an
agenda, and provided only two-days’ notice. When Chavez and his co-founder and wife,
Joyce Hitchner, entered the meeting room, VP Junker opened the meeting by simply

                                                - 34 -
          Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 35 of 74




advising that Renewal had decided to “terminate” all of the Retailer Agreements. VP
Junker then read from a prepared list of alleged contract violations by Dreamstyle. At the
end of the meeting, VP Junker then announced that Chavez and Dreamstyle would not even
be permitted to sell the markets to another Renewal Affiliate – “the markets are not yours to
sell!”.
          136.   As soon as VP Junker started reading from the list it was apparent to Chavez
that the alleged “violations” were either entirely fabricated or that they constituted matters
which were previously expressly approved by Renewal and therefore were not proper bases
for termination. Chavez attempted to protest the fact that, prior to Renewal’s termination,
Dreamstyle was never advised of the claimed violations, and was not provided any
opportunity to respond to or cure any of the alleged breaches as required by paragraph ¶14
of the Retailer Agreements.
          137.   As VP Junker was reading from the list Chavez attempted to respond, to
either provide an explanation or in several instances to request a further clarification of the
specific violation. Each time, VP Junker would cut him off, telling him that “the decision
has been made” and “nothing you say or do is going to change that.” VP Junker concluded
the meeting by telling Chavez that the four markets “were not his to sell.”
          138.   The entire one-sided meeting ended 12 minutes later with VP Junker reading
the last item on the list and then abruptly walking out the door for her five-hour return trip to
her office in Cottage Grove, Minnesota – Renewal’s corporate headquarters.
          139.   Chavez has long since complained about the overt discrimination that VP
Junker and other corporate representatives of Renewal have displayed against him. Of the
ninety-plus affiliate locations owned and controlled by nearly 50 different “ownership”
groups, scant few are minorities. Larry Chavez and the “Chavez Group” are one of those
minority owners, being 100% Hispanic.

                                                 - 35 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 36 of 74




       140.   Within the Renewal network of affiliates, Dreamstyle and the Chavez Group
collectively represented one of the five largest ownership groups, behind only Esler
Companies and Moore Holdings. It was also well known that the largest affiliate group,
Esler Companies, wanted to take over Dreamstyle’s Tucson and Northern Arizona exclusive
territories and had been orchestrating and colluding with Renewal and VP Junker to do that
since early in 2017.4 Esler Companies already had the exclusive Phoenix territory and
announced in early 2018 its plans to take over the entire State of Arizona.
       141.   Unlike a similar situation in December 2018 whereby Renewal paid one of its
favored affiliate groups, Moore Holdings, tens of millions of dollars to purchase back two
under-performing market regions in California, Renewal unilaterally terminated
Dreamstyle’s agreements, as part of Renewal’s scheme to steal them from Dreamstyle after
they had been financed and developed by Dreamstyle.
       142.   On May 8, 2018, VP Junker sent a letter enumerating the same nine items she
presented in the May 7th meeting, in which she included the stated reasons for termination:
(i) Marketing and selling Renewal by Andersen products outside of [Dreamstyle’s] assigned
Primary Market Area; (ii) Purchasing or starting businesses in the Primary Market Areas of
other Renewal by Andersen retailers without informing [Renewal]; (iii) Selling or offering
to sell competitive products in the Primary Market Area of other Renewal by Andersen
retailers; (iv) Opening a Renewal by Andersen warehouse / office in Yuma, AZ without


4
       Renewal permitted Esler Companies to purchase the premium “Phoenix” market
in January 2017 for more than seven million dollars. Despite having been in Northern
Arizona and Tucson since 2009, the Chavez Group was not allowed to even bid or
present a proposal to acquire the Phoenix market. The awarding of the Phoenix market to
Esler was done in strict violation of VP Junker’s own policy which requires that
adjoining territory owners (such as Chavez in Tucson and Northern Arizona) are to be
given first opportunity to acquire new markets in the regions where they have existing
presence.
                                                - 36 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 37 of 74




[Renewal’s] consent; (v) Selling or offering to sell competitive products to customers in
[Dreamstyle’s] Primary Market Area; (vi) [Dreamstyle’s] handling of the Hageman matter5,
including disparagement of Andersen products; (vii) Failure to meet [Dreamstyle’s] 2017
sales goals in four of [Dreamstyle’s] four market areas and currently behind plan in
Northern Arizona; (viii) Failure to meet [Dreamstyle’s] 2018 Net Promoter score in San
Diego and Tucson; and (ix) Recruiting or hiring employees from retailers in violation of our
Integrity in Hiring6 policy. See May 8, 2018 Letter attached as Exhibit F.
       143.     As part of the May 7th meeting and May 8th letter, VP Junker also advised that
Dreamstyle’s executives and key personnel would be required to resign from the various
Renewal affiliate councils and boards on which they served and that Dreamstyle’s personnel
would no longer be permitted to participate in on-line and in-person training programs or
meetings which the Four Retailer agreements mandated that Dreamstyle attend. “Effective
immediately, you and your representatives are no longer invited to these meetings and other
network meetings or training workshops.”
       144.     On May 8th, just a few hours after receiving Renewal’s written termination,
Dreamstyle prepared its initial response expressing shock. (See Exhibit G). Two days later,
May 10, 2018, VP Junker sent a second letter, this time with the formal terms detailing the
Renewal’s termination, which Chavez responded to on May 17, 2018. See Exhibits H and I
respectively.


5
       The “Hageman” matter involved a sale by Dreamstyle of several windows and
doors to Wendy Hageman in Farmington, New Mexico. The Hageman contract totaled
approximately $60,000. Renewal continued to ship defective products over the course of
several months, making it difficult for Dreamstyle to complete the project to the
homeowner’s satisfaction. See Exhibit W Listing of Defects in Andersen products
supplied for Hageman project.
6
       See Exhibit V – August 4, 2014 VP Junker Integrity in Hiring Memorandum.
                                                - 37 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 38 of 74




       145.      On May 17, 2018, Dreamstyle also requested that Renewal and its President,
Paul Delahunt, provide further detailed explanation or documentation to support the alleged
bases for termination. It was not until two weeks later, June 1, 2018, that VP Junker sent a
response which provided nothing in the way of evidentiary support, justification, or
supplementation. See Exhibits J and K respectively.
       146.      Over the next several months, VP Junker continued to send threatening and
demanding letters to Dreamstyle and Chavez. Each letter contained statements similar to
the following:

       This letter confirms that further violations of the terms of any of your
       [Dreamstyle’s] Retailer Agreements, either of a type identified above or any
       other type, will not be tolerated. Any further violations will be grounds for
       immediate termination.

See Exhibit F at pg 2.

       Per my letter of May 8, any additional DreamStyle (sic) breach of those
       agreements will jeopardize transition discussions and will be cause for
       immediate termination.

See Exhibit L – June 12, 2018 Letter from VP Junker.
       147.      As stated above, the Second Northern Arizona Agreement had a term
extending through January 31, 2019. On July 17, 2018, in accordance with ¶41, Dreamstyle
timely requested that the Agreement term be extended for an additional five years. Renewal
VP responded a week later rejecting Dreamstyle’ request to extend. See Exhibits M and N
respectively.

       As indicated in my letter to you dated May 8, 2018, for the reasons identified
       in that letter and our subsequent correspondence and discussions, Renewal by
       Andersen will not be renewing the Retailer Agreement with Dreamstyle
       Remodeling for the Northern Arizona market area.
       148.      After informing Dreamstyle that the Second Northern Arizona Agreement


                                               - 38 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 39 of 74




would not be extended, VP Junker further advised that all five Retailer Agreements would
be terminated with the same effective date – January 31, 2019 – and that Dreamstyle would
be subject to an even earlier “termination” date, without prior notice or opportunity to cure,
for even the most de minimis of alleged violations.
       149.   In an effort to mitigate its damages7 resulting from the wrongful termination
of the agreements and to avoid Renewal’s claim of further “breaches” or “violations,”
Dreamstyle requested that it be permitted to mitigate its damages by (i) establishing a bath
operation in Boise, Idaho; (ii) begin selling non-Renewal window and door products in and
around Los Angeles, California; and (iii) staggering the termination dates for each of the
markets from January 31, 2019 to a more reasonable period extending to April 30, 2019.
Renewal refused.
       150.   Renewal rejected Dreamstyle’s efforts at mitigation unless Dreamstyle signed
an agreement waiving all its claims for damages. On October 29, 2018, Renewal sent
formal notice that the Retailer Agreements for New Mexico, Tucson, and Northern Arizona
would all terminate upon expiration of the Northern Arizona Agreement, effective January
31, 2019. Renewal further claimed that it was electing to formally terminate the San Diego
and Boise agreements “for cause” with a termination date of January 31, 2019 with no
explanation as to the reasons why and with no opportunity for Dreamstyle to cure any
alleged deficiencies or “breaches.” See Exhibit U.
       151.   Prior to the termination, Renewal gave Dreamstyle no notice or opportunity to



7
      From mid-September 2018 to early October 2018, there were numerous efforts by
Dreamstyle attempting to mitigate its damages – all of which were rejected by Renewal.
See Exhibit O – September 6, 2018 Dreamstyle letter; Exhibit P- September 17, 2018
Chavez e-mail; Exhibit Q; September 18, 2018 letter from VP Junker “sale of other
products not permitted”; Exhibit R, September 19, 2018 Letter from Dreamstyle; and
Exhibits S & T – Dreamstyle’s October 2, 2018 proposed termination agreement.
                                               - 39 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 40 of 74




cure any of the alleged non-specific violations. Renewal has had actual notice of the claimed
violations for years, said nothing, and has granted Dreamstyle additional territories or
otherwise renewed the agreements with these alleged “violations” already in place.
       152.   It was only after Esler Companies announced its desire to acquire
Dreamstyle’s Arizona territories to fuel their own growth that Renewal chose to fabricate
the claimed violations. It was only after Dreamstyle had invested tens of millions of dollars
in marketing and building the customer database on the Enabled+ CRM database, controlled
by Renewal, that Renewal elected to justify its termination.
       153.   Renewal’s termination was based on a fabrication of lies created as part of its
overall strategy for illegally terminating Dreamstyle and further engaging in anti-
competitive behaviors.
       154.   Renewal and VP Junker’s, motive for termination was clear (i) its desire to
maintain its monopoly position and closely control its retailer affiliates by ensuring that no
competing brands or non-window or door products are marketed or sold to customers. (ii)
to crush the Chavez Group and “clean up” the Renewal network by eliminating the largest
minority group; (iii) punishing Chavez and Dreamstyle for hiring several high ranking
former employees of Esler Companies;8 (iv), as a way to reward the Renewal’s “favored”
affiliates, Esler Companies and others, by presenting them with the exclusive territories that
have been established and developed through the capital investments, marketing expertise,
and strong business practices of Dreamstyle; and (v) to silence Chavez and Dreamstyle from
making their ongoing complaints about the frequent and on-going manufacturing defects


8
       In late 2017 and early 2018, Dreamstyle hired one current and two former high-
ranking employees of Esler. Dreamstyle and Chavez were chastised by VP Junker and
Esler in a conference call, and shortly thereafter Dreamstyle was terminated. When
Chavez wanted to hire Dreamstyle General Manager Kenneth Biddle in May 2016, VP
Junker objected and told Chavez that he could do so “over [her] dead body.”
                                               - 40 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 41 of 74




and the poor quality of Andersen doors and Renewal by Andersen windows being delivered
to Dreamstyle.9
      D.     Plaintiffs Have Invested Tens of Millions of Dollars Promoting
             Renewal
      155.   Between January 2014 when the Second Northern Arizona Agreement was
executed and October 2018, Dreamstyle has invested approximately thirty-four million
dollars ($34,000,000) directly marketing the Renewal brand – approximately $700,000
every month.10 Added to this direct marketing expense are other substantial capital
improvement expenditures mandated by Renewal: (i) design and construction of four
showrooms of “Renewal Products” ($350,000+)11; $180,000+ spent on wrapping more
than 50 cars, trucks, trailers and wagons with Renewal specific logos and advertising;
$4,000,000+ in direct training expenses for sales representatives, installers, installation
and production; IT and systems integration ($100,000+); monthly fees paid to Renewal
for its proprietary customer relationship management system (“CRM“) Enabled+
($18,000/year); and Renewal specific call center expenses ($75,000 / month).


9
       Since December 2017, Chavez and other Dreamstyle production managers and
quality control personnel have continued to complain to Renewal about the product
delivery delays, incomplete shipments, and manufacturing defects in the Andersen doors
and Renewal windows being delivered to Dreamstyle. Through 2018, Dreamstyle
calculates that 20 to 25% of all ordered are delivered with some sort of material defect,
preventing their installation in customers’ residences. Current customer reports of
ongoing defective Renewal products proliferate the internet and Defendants’ affiliate
websites.
10
       2014 - $2,997,000; 2015 - $6,330,000; 2016 - $7,800,000; 2017 - $8,047,000, and
2018 - $8,763,000.
11
        This figure does not include acquisition costs for the showrooms or buildings,
such as rent or lease payments, utilities, or cost of manning the showrooms. The figure
listed relates solely to the cost to purchase and build the specific product displays.
                                              - 41 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 42 of 74




       156.    Dreamstyle has invested these tens of millions of dollars with the reasonable
expectation that its exclusive rights to market and sell the Renewal Brand projects would
not be unfairly or unreasonable controlled or unilaterally terminated by Defendants.
       157.    Dreamstyle has invested these tens of millions of dollars with the reasonable
expectation that each of the Four Retailer Agreements which form the subject matter of this
litigation would be renewed in successive five-year increments.
       158.    The substantial investment by Dreamstyle of both traditional and non-
traditional marketing has its obvious benefits to Renewal in the form of year after year
business growth and a market share12 for the Renewal Products in each of Dreamstyle’s four
exclusive territories which is substantially higher than the majority of other Renewal
affiliates for the territories that they represent.13
       159.    In addition to Market Share, Dreamstyle has through the expenditure of
substantial training and good business practices, developed substantial goodwill for the
benefit of Renewal. On average, more than 10% of each year’s sales of Renewal Products
by Dreamstyle is in the nature of repeat customers who return to either continue with and
complete previous home remodeling projects or who as a result of purchasing a new home,
desire to purchase the Renewal Products again from Dreamstyle.
       160.    Advertising and goodwill paid for by Dreamstyle has a long-standing impact
and historically has generated sales years in the future. The frequent and varied marketing

12
       “Market Share” represents the percentage of an industry or market’s total sales
that is earned by a specific manufacturer. For example, in 2016 Renewal issued a
national market share report showing Dreamstyle’s Albuquerque Market Share in the
replacement window and door market was more than 10% (one out of every ten
replacement windows sold in Albuquerque was a Renewal window) as a direct result of
Dreamstyle’s substantial marketing efforts.
13
       Average Renewal network Market Share is only 3.2%. Dreamstyle’s Market
Share is more than three times the affiliate average.
                                                    - 42 -
         Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 43 of 74




by Dreamstyle for Renewal within its exclusive territories creates what is referred to as
brand awareness. Because of this brand awareness, Dreamstyle has hundreds of examples
where marketing dollars spent will eventually result in a Renewal sale as much as 10 years
later.
         161.   In the twelve-plus years that Dreamstyle had been a Renewal affiliate,
Dreamstyle has also spent millions of dollars building and maintaining “customer” or
“prospect” databases of hundreds of thousands of potential leads acquired via its traditional
and non-traditional marketing efforts. These customer databases contain customer names,
property addresses, product interests, phone numbers, e-mail addresses, and customer
budgets. They have a tremendous value to Dreamstyle and are specific to both the specific
exclusive territories which Dreamstyle has been issued and also include customer names for
other territories / free zones. Dreamstyle’s cost to generate each prospect averages $190.
Presently, Dreamstyle’s customer/prospect databases contain more than 165,500 leads and
have an estimated value of thirty-one to forty-eight million dollars14 ($31,496,000 to
$48,495,000).
         E.     Dreamstyle Has Been Damaged by the Wrongful Termination and
                Illegal Take-over of its Exclusive Territories, Customers, and Loss of
                Goodwill and Interruption to its Business Operations
         162.   Each of the Four Retailer Agreements and the exclusive territories which they
represent has substantial value. In 2017, the sale of Renewal Products represented nearly
forty-three million dollars in revenue to Plaintiffs and comprised 65% of Plaintiffs total
business volume. In 2018, from the four markets, Dreamstyle achieved forty-eight million


14
       $31,496,000 represents the cost to generate the prospect database. $48,495,000
represents the stream of revenue that Dreamstyle would receive from those prospects.
See fn 2 infra.
                                                - 43 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 44 of 74




dollars in revenue from Renewal products15 of which Dreamstyle realized a 15% average
profit margin.
       163.      Based on its historical earnings and profits, Dreamstyle calculates the
business volume of these four exclusive territories over their original terms to exceed two
hundred million dollars.
       164.      The termination of the agreements causes a loss to Dreamstyle not only of
their future value but also results in further damages as well.
       165.      Historically, Dreamstyle realizes a substantial repeat customer business of
thirteen percent (13%) of total annual revenue. Lost profits and business opportunities from
this loss of repeat customers is reasonably estimated to exceed three million dollars. Had
Dreamstyle been allowed to continue with its business operations selling Renewal Products
for just another three years, Dreamstyle would have realized these profits.
       166.      Historically, Dreamstyle realizes a substantial amount of new customer
business resulting from brand recognition and legacy advertisements16 of fifteen percent
(15%) of total annual revenue. Lost profits and business opportunities from this loss of new
legacy customers is reasonably estimated to exceed four million dollars. Had Dreamstyle
been allowed to continue with its business operations selling Renewal Products for just
another three years, Dreamstyle would have realized these profits.
       167.      Dreamstyle has previously invested over a million dollars in promoting the

15
       The termination demoralized Dreamstyle’s staff making them fearful of their job
future and security thereby inhibiting their performance. At a leadership level, the
termination diverted significant resources away from driving Renewal business growth as
it was imperative to identify and plan for transitioning to a new window and door
manufacturer
16
       Dreamstyle has achieved sales from legacy (prior-year) advertising dating as far
back as 10+ years and routinely receives sales from legacy advertising in the 3 to 4-year
range.
                                                 - 44 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 45 of 74




Renewal Brand through showroom displays, promotional materials, presentation software,
signage, vehicle wraps, etc. By wrongfully terminating the Retailer Agreements, Renewal
is attempting to illegally reap what Dreamstyle has sown.          As a direct result of the
terminations, all these previous capital expenditures were lost resulting in damage to
Dreamstyle.
       168.   During its twelve-year span Dreamstyle earned thousands of five-star positive
on-line reviews for its sales, installation, and customer service. Dreamstyle also earned
numerous Renewal Customer Satisfaction awards and the exclusive “Green Diamond”
award for exceptional customer service from Renewal.
       169.   Following the wrongful termination, Renewal authorized the replacement
affiliates to take over Dreamstyle’s positive reviews and customer comments on Google, the
Better Business Bureau, Facebook, and other on-line social media sites and use them in their
own digital on-line advertising. 17 Despite Plaintiffs’ objections and protests, Defendants are
aware of, consented, and have actively promoted the theft of Plaintiffs’ online reviews,
awards, and positive business reputation by the replacement affiliates and by Renewal itself.
       170.   Dreamstyle calculates that the direct cost of re-branding itself, creating new
customer reviews, and launching with a new window and door manufacturer will exceed
two million dollars.
       171.   Dreamstyle calculates that in the first year of operation and in having to
market and establish a new brand recognition in the marketplace, costs will exceed three
million dollars, and Dreamstyle has been damaged to that amount.


17
       E.g., as of November 15, 2019, Renewal by Andersen of Boise uses more than 600 of
Dreamstyle Remodeling of Idaho LLC’s online customer reviews in its digital website;
Renewal by Andersen of New Mexico, and Renewal by Andersen of Tucson each
collectively use more than of 1,000 Dreamstyle Remodeling Inc.’s online customer reviews
in their digital websites and advertising.
                                                - 45 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 46 of 74




       172.   Dreamstyle calculates that the loss of its customer database comprising more
than 165,500 prospects, each of which cost an average of $190 to acquire and develop, to be
more than $31,495,000.        Renewal wrongfully seized control of and has deprived
Dreamstyle of the use and benefit of these prospects. Subsequent to wrongfully taking
control of Dreamstyle’s prospect database, Defendants utilized the information therein to
promote their own products, and to promote their new affiliate groups who ceased control
over the Market areas previously owned by Dreamstyle. Dreamstyle has been damaged to
by the value of its prospect database.
       173.   Dreamstyle calculates that in the months following Renewal making public its
termination of Dreamstyle’s four markets, there has been a loss of productivity, direct loss
of sales, and negative impact on basic operational functions of the business; that, plus the
cost of transitioning to new product lines totals more than four million dollars. Dreamstyle
has been damaged to that amount.
       F.     Renewal Intentionally Interfered with Numerous Business
              Opportunities and Third-Party Agreements of Dreamstyle
       174.   Almost immediately following the May 7th meeting where VP Junker advised
of Renewal’s decision to wrongfully terminate the Retailer Agreements, Renewal and its
corporate executives have engaged in a pattern and scheme to destroy and defame
Dreamstyle and Chavez.
       175.   In numerous phone conversations between VP Junker and Chavez starting in
early 2018, VP Junker has used the common phraseology that Dreamstyle / Chavez and
Renewal are “not aligned.” Time and again VP Junker has objected to Chavez promoting
his own Dreamstyle18 branding.


18
      In April 2017, Chavez acquired the naming rights to the Football and Basketball
stadium for the University of New Mexico Lobos. UNM Basketball “The Pit” has been
                                              - 46 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 47 of 74




                        Figure 3 – Dreamstyle Remodeling Mark.




      176.   After Chavez committed $10 million dollars to acquire the naming rights
from the University of New Mexico, VP Junker chastised Chavez for building his own
“Dreamstyle” brand and investing in the local community instead of spending the same $10
million dollars promoting the “Renewal” brand. Renewal has repeatedly voiced objection
to Chavez starting an entirely separate business operating in Denver, Colorado where
Dreamstyle sells Kohler brand bath products19.
      177.   Not being “aligned” with Renewal and Andersen comes at a significant cost
and that price is extracted by gatekeeper and enforcer, VP Junker. Despite being one of the
top selling ownership groups20 within the Renewal network of affiliates, Chavez was
specifically excluded from attending the “Owner” meetings afforded by Renewal to the
other non-Hispanic owners.
      178.   Other examples of discrimination or not being “aligned” include (i) the
instance where Renewal’s marketing agency “Lead Surge” claimed that Dreamstyle had
infringed on their copyright for a Renewal ad campaign. With Dreamstyle and Chavez,


renamed “Dreamstyle Arena,” and UNM Football field has been renamed “Dreamstyle
Stadium.”
19
      The Esler Companies is the Renewal affiliate selling in the Denver market. VP
Junker has informed Chavez that “she is not happy with” Dreamstyle being in the same
market area as her “#1 affiliate.”
20
        Renewal Products represent approximately 65% of Dreamstyle’s net sales from all
of its various remodeling product lines.
                                                 - 47 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 48 of 74




Renewal demanded that Chavez pay a $50,000 “settlement,” yet in an identical instance
involving a non-Hispanic owner, VP Junker intervened and directed Lead Surge to dismiss
the claim; (ii) Renewal regularly hosts social events for Owners and top managers to which
Chavez is never invited; (iii) since 2012, the “Owner Affiliate Council” – a select group of 8
to 10 Owners – had frequent openings and yet Chavez has never been offered a position. In
2017, the position was given to new non-Hispanic affiliate owner who was underperforming
in his market; (iv) in the 12 years Chavez had been a Renewal affiliate owner – representing
markets with double digit year after year growth – he was never once offered one of the
prized “Owner Affiliate Council” seats, nor was he invited to participate on any other
council or committee; (v) Chavez was also never nominated for and received any award at
Renewal’s annual awards galas. VP Junker controls who can participate in these prestigious
groups, councils, and committees.
       179.   After receiving Renewal’s May 8, 2018, letter advising of the impending
termination, with Renewal’s permission, Chavez began to actively seek an alternative
supplier of window and door products. One of those alternative suppliers was ProVia.
When Dreamstyle contacted ProVia, Dreamstyle quickly discovered that Renewal had
expressly prohibited ProVia from providing any product information or pricing for window
and door products to Dreamstyle.
       180.   In June 2018, Chavez reached out to the Esler Companies about Dreamstyle
selling its Tucson and Northern Arizona Markets.          Esler expressed interest in these
markets21 – essentially taking over the entire state of Arizona – and in early August 2018,


21
       Matt Esler, one of the two principals for the Esler Companies had expressed his
desire to acquire the Tucson and Arizona markets in mid-April 2018. Chavez advised
Esler that he was not interested in selling at that time. Not surprisingly, just three weeks
later VP Junker flew to Albuquerque for her 12-minute meeting advising Chavez of
Renewal’s decision to terminate Dreamstyle.
                                               - 48 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 49 of 74




Esler agreed to purchase the markets from Dreamstyle for $7.0 million dollars cash with a
closing date of September 30, 2018.
      181.   On September 4, 2018, Renewal let it be known to Esler that Renewal had
already advised Dreamstyle that they were terminating the Tucson and Northern Arizona
retailer agreements effective October 1, 2018 (See Exhibit H). The following day, Esler
notified Dreamstyle that it was cancelling the $7.0 million-dollar purchase agreement. In
December 2018, Esler publicly announced that Renewal “awarded” them Dreamstyle’s
Tucson and Northern Arizona markets.
      182.   Due to the intentional interference by Renewal with Dreamstyle’s sale of the
Northern Arizona and Tucson markets in September 2018, Dreamstyle directly lost
$7,000,000, and Dreamstyle has been damaged to that amount.
      183.   Earlier in August 2018, Dreamstyle also learned that a top executive at
Andersen / Renewal had informed Kohler’s22 top management that Renewal had
“terminated” Dreamstyle and that Chavez and Dreamstyle were “not a trustworthy partner.”
After this comment was made, Kohler sent a director and three other executives to
investigate whether Chavez and Dreamstyle could be trusted to continue to do business with
Kohler. Chavez brought this to VP Junker’s attention, but she refused to take any action to
correct the disparagement.
      184.   Following Renewal’s announcement of the termination of Dreamstyle,
Renewal and VP Junker have actively promoted the direct poaching23 of Dreamstyle’s


22
        Kohler is Dreamstyle’s business partner for Kohler bath products, which
Dreamstyle sells in its Denver, Phoenix, and Tucson markets. Dreamstyle’s Kohler bath
sales represent $13,569,000 through September 2018.
23
        On October 24, 2018, Dreamstyle requested that Renewal stop these activities by
its affiliate groups (which was a direct violation of the Integrity in Hiring memorandum
that Dreamstyle was accused of violating). VP Junker and Renewal refused to take any
                                              - 49 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 50 of 74




employees, installation technicians, sales personnel, and management personnel by what
Renewal has identified as the successor affiliates, Esler Companies, and the Tiffee Group.
          185.   Since May 2018, VP Junker and/or other Renewal executives have been
actively contacting third parties and advising them that Dreamstyle had been “terminated”
causing substantial damages to Dreamstyle’s business reputation and ability to compete in
its various markets.
          186.   In December 2018, Renewal contacted Dreamstyle’s direct mail marketing
company, Premier Direct Marketing, with whom Dreamstyle spends more than two hundred
thousand dollars monthly and forced them to sign an agreement which specifically
prevented Premier from acting as Dreamstyle’s vendor. According to Premier such a
request is unprecedented in the direct mail marketing business. Mailing houses such as
Premier routinely act as a common vendor for national competing brands (e.g. Pizza Hut
and Papa John’s).
          187.   Other than to crush and damage Dreamstyle and further Renewal’s
monopolistic goals, such a restraint on trade has no legitimate business goal.
          188.   Even prior to the May 7, 2018 meeting, Renewal and VP Junker have actively
interfered with Dreamstyle’s business operations: (i) Renewal directed Dreamstyle to fire its
general manager in Tucson; (ii) Renewal directed Dreamstyle to close down its Tucson call
center operation; (iii) in January 2018, Renewal directed Dreamstyle to appoint a new
Proximity Manager for its Tucson operation; and (iv) in early 2018, Renewal took over the
Hageman project and directly cancelled the Sales Agreement that Dreamstyle had with that
customer causing Dreamstyle to lose more than $60,000 in revenues; (v) Renewal requires
that Dreamstyle and all other affiliates subscribe to and utilize Renewal’s proprietary
Enabled+ software and to assign all customer prospects, regardless of source to Renewal;

action.
                                                - 50 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 51 of 74




(vi) Renewal required Dreamstyle to participate in and pay for Renewal advertising
programs. The list of Renewal’s direct interference with the day-to-day business operations
is replete with other similar Renewal mandates.
                                    CLAIMS FOR RELIEF
                                             COUNT I
  VIOLATION OF SHERMAN ACT SECTION 1 (CONTRACT, COMBINATION,
                     OR CONSPIRACY IN RESTRAINT OF TRADE
       189.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 188 as if restated herein in its entirety.
       190.    Beginning on or before May 2017, Defendants entered into and engaged in
unlawful contracts, combinations, and/or conspiracies in restraint of trade in violation of
Section 1 of the Sherman Act, 15 U.S.C. § 1.
       191.    Defendants engaged in predatory and anti-competitive behavior by restricting
competition among its corporate owned stores and retailers, which unfairly suppressed
employee wages, and unreasonably restrained trade.
       192.    Defendants’ conduct included concerted actions and undertakings among the
Defendants’ corporate stores and retailers with the intent, purpose and effect of:
               a.      artificially suppressing the compensation of retailer employees;
               b.      eliminating competition among Defendants and retailers for skilled
labor; and
               c.      restraining employees’ ability to secure better compensation,
advancement, benefits, and working conditions.
       193.    Defendants contracts, combinations, and/or conspiracies are per se violations
of Section 1 of the Sherman Act.



                                                  - 51 -
         Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 52 of 74




                                            COUNT II:
                      VIOLATION OF SHERMAN ACT SECTION 2
                            (UNLAWFUL MONOPOLIZATION)
         194.   Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 193 as if restated herein in its entirety.
         195.   Defendant’s conduct constitutes the intentional and unlawful maintenance of
monopoly power in the relevant product market, in violation of Section 2 of the Sherman
Act, 15 U.S.C. §2.
         196.   For the purpose of maintaining their monopoly power, Defendants committed
numerous acts, including:
                a.     Forcing Dreamstyle to agree to an exclusive dealing arrangement
pursuant to which only Renewal window and door products may be sold by Retailers;
                b.     Penalizing Dreamstyle for recognizing consumer demands for
alternative brands and/or complementary window and door or other products by terminating
Dreamstyle’s retailer agreements;
                c.     Using its market position to force other third-party vendors with whom
Dreamstyle has existing contractual relationships to terminate their relationships with
Dreamstyle, forcing Dreamstyle to find alternative third-party vendors and ultimately
resulting in a price increase to consumers.
         197.   By engaging in these exclusionary behaviors, Renewal has deprived
consumers of the benefits of competition among suppliers of replacement windows and
doors.
         198.   Renewal does not have a legitimate business purpose for any of its anti-
competitive conduct, and any assertion that a procompetitive benefit exists is meritless.
Renewal’s behavior does not result in any cost reduction nor does it promote innovation or

                                                  - 52 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 53 of 74




access to products by consumers. Moreover, Renewal’s behavior does not reduce the high
entry barriers in any way.
       199.    Renewal’s unlawful monopolization in the relevant product market
suppressed sales of competing products and ultimately increased consumers costs.
       200.    Renewal’s overall conduct has and will continue to maintain supra-
competitive prices to consumers in the relevant product market, harm innovation, and
otherwise deny consumers the choice of replacement windows and doors on the merits.
                                           COUNT III:
                      VIOLATION OF SHERMAN ACT SECTION 2
                           (ATTEMPTED MONOPOLIZATION)
       201.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 120 as if restated herein in its entirety.
       202.    Renewal acted with a specific intent to monopolize and to destroy
competition in the relevant product market. Renewal devised and implemented a play to
systematically eliminate competition in the relevant product market.
       203.    Renewal willfully engaged in a course of exclusionary conduct to obtain a
monopoly in the relevant product market; including:
               a.      Forcing Dreamstyle to agree to an exclusive dealing arrangement
pursuant to which only Renewal window and door products may be sold by Retailers;
               b.      Penalizing Dreamstyle for recognizing consumer demands for
alternative brands and/or complementary window and door or other products by terminating
Dreamstyle’s retailer agreements;
               c.      Using its market position to force other third-party vendors with whom
Dreamstyle has existing contractual relationships to terminate their relationships with
Dreamstyle, forcing Dreamstyle to find alternative third-party vendors and ultimately

                                                  - 53 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 54 of 74




resulting in a price increase to consumers.
               d.      Defendants have engaged in a systematic and deliberate process to
cause third-party marketing vendors such as Premier Direct Marketing, BombBomb / Deo
Volente, and Nina Hale to cease doing business with Plaintiffs. Defendants have also
attempted to influence third party suppliers such as Kohler and ProVia to not do business
with Plaintiffs.
       204.    Renewal does not have a legitimate business purpose for any of its anti-
competitive conduct, and any assertion that a procompetitive benefit exists is meritless.
Renewal’s behavior does not result in any cost reduction nor does it promote innovation or
access to products by consumers. Moreover, Renewal’s behavior does not reduce the high
entry barriers in any way.
       205.    Throughout the time Renewal engaged in this exclusionary conduct, it had a
dangerous probability of succeeding in gaining a monopoly in and controlling in the
relevant product market and excluding its competitors.
       206.    Renewal’s unlawful monopolization in the relevant product market
suppressed sales of competing products and ultimately increased consumers costs.
       207.    Renewal’s overall conduct has and will continue to maintain supra-
competitive prices to consumers in the relevant product market, harm innovation, and
otherwise deny consumers the choice of replacement windows and doors on the merits.
                                           COUNT IV:
 THE EXCLUSIVITY CLAUSE OF THE RETAILER AGREEMENTS VIOLATE
                           SECTION 3 OF THE CLAYTON ACT
       208.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 207 as if restated herein in its entirety.
       209.    Defendants required that in order for a company to become an “affiliate”

                                                  - 54 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 55 of 74




offering the Andersen and Renewal by Andersen products, that any company looking to
contract with Defendants sign a contract which requires that the company may only sell
Renewal and Andersen products and they can be terminated if they carry or sell any
competitor products.
       210.   Defendants required that in order for a company to become an “affiliate”
offering the Andersen and Renewal by Andersen products, that any company looking to
contract with Defendants sign a contract which requires that the company may only
purchase construction related materials from manufacturers, distributors, and suppliers from
specified suppliers and distributors and they can be terminated if they purchase from non-
approved Andersen / Renewal vendors, suppliers, or manufacturers.
       211.   Defendants required that in order for a company to become an “affiliate”
offering the Andersen and Renewal by Andersen products, that any company looking to
contract with Defendants sign a contract prohibiting Plaintiffs, its owners, immediate family
members, directors, officers and all management level employees, for a period of five (5)
years from becoming affiliated with any other company engaged in the sale, promotion,
installation or servicing of window and door products manufactured by Andersen.
       212.   The contractual provisions which Defendants required that Plaintiffs sign in
order to carry the Andersen and Renewal by Andersen products restrict the ability of the
Plaintiffs and their owners, family members, and other personnel to trade or purchase from
other suppliers any windows, doors, construction related supplies including caulking, foam,
trim, screws, cleaning products and other construction related materials in an attempt to
lessen competition in the relevant markets in violation of 15 U.S.C. §14.
       213.   Within the meaning of Section 4 of the Clayton Act, 15 U.S.C. §15, Plaintiffs
have been injured in their business or property by reason of the lessening of competition
described above, including without limitation Defendants refusal to supply to Plaintiffs

                                               - 55 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 56 of 74




except on anticompetitive terms and conditions and Defendants wrongful efforts to
accelerate termination of the Four Retailer Agreements.
       214.    The actions of the Defendants tend to lessen competition and to increase
Defendants monopoly power.
       215.    The Defendants anti-competitive restrictions have damaged the Plaintiffs
business, as such the Plaintiffs have been injured and are entitled to their actual damages in
an amount to be proven at trial. Plaintiffs are further entitled to treble damages for such
injuries, simple interest on their actual damages from the date of service of Plaintiffs
complaint until paid and Plaintiffs’ attorney’s fees and costs as provided by 15 U.S.C.
§15(a).
       216.    The Defendants anti-competitive restrictions and violation of the antitrust
laws have damaged the Plaintiffs business and Defendants’ continuing conduct will cause
further threatened loss and damages to Plaintiffs. There is a danger of irreparable loss and
the damage to Plaintiffs is immediate. Plaintiffs are entitled to injunctive relief as provided
by Section 16 of the Clayton Act, 15 U.S.C. §26.
                                            COUNT V
                 VIOLATIONS OF THE ARIZONA ANTITRUST ACT
       217.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 216 as if restated herein in its entirety.
       218.    Defendants’ acts of conspiracy and unreasonable restraint of trade and
commerce had the purpose and effect of suppressing competition in the sale of windows,
doors, construction-related materials, spas, sunrooms patio rooms, kitchen and bath
remodeling components and general residential home remodeling in the State of Arizona
and elsewhere, and had a substantial and adverse impact on prices for windows, doors,
construction-related materials, spas, sunrooms patio rooms, kitchen and bath remodeling

                                                  - 56 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 57 of 74




components and general residential home remodeling in Arizona. Defendants’ acts have
caused substantial injury and damage to Plaintiffs.
       219.    The above described actions by Andersen and Renewal are wrongful and
constitute violations of the Arizona Antitrust Act, Ariz. Rev. Stat. Ann. §44-1401 to §44-
1416. Defendants’ actions also constituted an intentional attempt to monopolize window
and door and other types of home remodeling commerce in the State of Arizona.
       220.    Defendants’ actions were knowingly, intentionally, and flagrantly made
with the intention to unreasonably restrict trade and commerce in the State of Arizona.
       221.    Plaintiffs have been damaged by Defendants’ violations of the Arizona
Antitrust Act. Plaintiffs are entitled to injunctive relief and are entitled to actual damages
in the minimum amount of fourteen million dollars ($14,000,000) together with their
taxable costs and attorney’s fees as provided by Ariz. Rev. Stat. Ann. §44-1408(B).
Plaintiffs are further entitled to treble their actual damages as provided by Ariz. Rev. Stat.
Ann. §44-1408(B).
                                            COUNT VI
                  VIOLATION OF THE IDAHO COMPETITION ACT
       222.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 221 as if restated herein in its entirety.
       223.    Defendants’ acts of conspiracy and unreasonable restraint of trade and
commerce had the purpose and effect of suppressing competition in the sale of windows,
doors, construction-related materials, spas, sunrooms patio rooms, kitchen and bath
remodeling components and general residential home remodeling in the State of Idaho and
elsewhere, and had a substantial and adverse impact on prices for windows, doors,
construction-related materials, spas, sunrooms patio rooms, kitchen and bath remodeling
components and general residential home remodeling in Idaho. Defendants’ acts have

                                                  - 57 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 58 of 74




caused substantial injury and damage to Plaintiffs.
       224.    The above described actions by Andersen and Renewal are wrongful and
constitute violations of the Idaho Competition Act, Idaho Code Ann. §48-101 to §48-118.
       225.    Defendants’ actions also constituted an intentional attempt to monopolize
window and door commerce in the State of Idaho. Defendants’ actions were knowingly,
intentionally, and flagrantly made with the intention to unreasonably restrict trade and
commerce in the State of Idaho.
       226.    Plaintiffs are entitled to relief under the Idaho Competition Act, Idaho Code
Ann. §48-101 et seq., including restitution, injunctive relief, civil penalties and reasonable
costs and attorneys’ fees.
       227.    Plaintiffs have been damaged by Defendants violations of the Idaho
Competition Act and are entitled to actual damages in the minimum amount of four
million dollars ($4,000,000) together with their taxable costs and attorneys’ fees and
treble their actual damages as provided by Idaho Code Ann. §48-113.
                                           COUNT VII
          VIOLATION OF THE NEW MEXICO UNFAIR PRACTICES ACT
       228.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 227 as if restated herein in its entirety.
       229.    Defendants’ acts of conspiracy and unreasonable restraint of trade and
commerce had the purpose and effect of suppressing competition in the sale of windows,
doors, construction-related materials, spas, sunrooms patio rooms, kitchen and bath
remodeling components and general residential home remodeling in the State of New
Mexico and elsewhere, and had a substantial and adverse impact on prices for windows,
doors, construction-related materials, spas, sunrooms patio rooms, kitchen and bath
remodeling components and general residential home remodeling in New Mexico.

                                                  - 58 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 59 of 74




Defendants’ acts have caused substantial injury and damage to Plaintiffs.
       230.    Defendants’ acts violate, and Plaintiffs are entitled to relief under the New
Mexico Unfair Practices Act, N.M. Stat. Ann. §57-1-1 to §57-1-19. Plaintiffs are entitled
to rescission of the Retailer Agreements and contracts, treble damages, injunctive relief and
reasonable attorneys’ fees under the New Mexico Unfair Practices Act, Section 57-1-3,
       231.    Defendants’ actions also constituted an intentional attempt to monopolize
window and door as well as other commerce in the State of New Mexico.
       232.    Defendants’ actions were knowingly, intentionally, and flagrantly made
with the intention to unreasonably restrict trade and commerce in the State of New
Mexico.
       233.    Plaintiffs have been damaged by Defendants’ violations of the New Mexico
Unfair Practices Act and are entitled to actual damages in the minimum amount of
seventeen million dollars ($17,000,000) together with their taxable costs, attorneys’ fees,
and threefold their damages as provided by N.M. Stat. Ann. §57-1-3.
                                           COUNT VIII
                 VIOLATION OF THE FEDERAL FRANCHISE RULE
       234.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 233 as if restated herein in its entirety.
       235.    The business ventures sold by Andersen are franchises, as “franchise” is
defined in Sections 436.1(h) of the Franchise Rule, 16 C.F.R. §436.1(h).
       236.    The Franchise Rule requires a franchisor to provide prospective franchisees
with a complete and accurate disclosure document containing twenty-three categories of
information, including information about the litigation and bankruptcy history of the
franchisor and its principals, the terms and conditions under which the franchise operates,
and information identifying existing franchisees. 16 C.F.R. §436.2 and 436.5.

                                                  - 59 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 60 of 74




       237.    In connection with the offering of franchises, Andersen violated the Franchise
Rule by failing to provide Plaintiffs with accurate and complete disclosure documents as
prescribed by the Franchise Rule.
       238.    Plaintiffs are entitled to rescission of the Four Retailer agreements, rescission
of the Renewal Enabled+ agreement, for an injunction prohibiting Defendants from using,
distributing, or otherwise providing any of Dreamstyle’s prospect / customer database
information to any other Renewal or Andersen affiliate or retailer.
       239.    Plaintiffs are further entitled to all of their damages including but not limited
to Loss of Business Value, Loss of Profits, Loss of their on-line reviews Re-branding
Expenses, Loss of Productivity, Loss of Customer Database and the other damages
enumerated infra in an amount of no less than sixty-million dollars ($60,000,000) together
with Plaintiff’s attorneys’ fees and costs of suit.
                                          COUNT IX
                   VIOLATION OF MINNESOTA FRANCHISE ACT
       240.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 216 and 234 to 239 as if restated herein in its entirety.
       241.    The Retailer Agreements, contracts, and other agreements and arrangements
between Dreamstyle and Renewal constituted a franchise in which Dreamstyle has specific
rights and to which Renewal has specific obligations.
       242.    The relationship between Plaintiffs and Defendants is a “franchise” within the
meaning of the Minnesota Franchise Act. Minn. Stat. Ann. §80C.01 et seq.
       243.    As a franchisor, dealing with more than a billion dollars in goods and
commodities sold in interstate commerce throughout the United States, Renewal was
required to comply with specific disclosure and registration requirements under the
Minnesota Franchise Act, Minn. Stat. Ann. §80C.01 et seq.

                                                  - 60 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 61 of 74




       244.    Defendants violated Minn. Stat. Ann. §80C.02 by offering and selling to
Plaintiff a franchise that was not registered as required under the provisions of the
Minnesota Franchise Act.
       245.    Defendants’ conduct also constitutes a violation of Minn. Stat. Ann. §80C.13,
Subd. 2, which provides “[n]o person may offer to sell a franchise in this state by means of
any written or oral communication which includes an untrue statement material fact or
which omits to state a material fact necessary in order to make the statements made, in light
of the circumstances under which they were made, not misleading.”
       246.    Prior to entering into the franchise relationship, Defendants also failed to
adequately and sufficiently disclose to Plaintiffs the business terms of the relationship
including the terms and conditions regarding non-renewal and termination of the franchise
agreement.
       247.    Plaintiffs are entitled to rescission of the four Retailer agreements which are
the subject matter of this litigation, rescission of the Renewal Enabled+ agreement, for an
injunction prohibiting Defendants from using, distributing, or otherwise providing any of
Dreamstyle’s prospect / customer database information to any other Renewal or Andersen
affiliate or retailer. Plaintiffs are further entitled to all of their damages including but not
limited to Loss of Business Value, Loss of Profits, Loss of their on-line reviews, Re-
branding Expenses, Loss of Productivity, Loss of Customer Database and the other damages
enumerated infra in an amount of no less than sixty-million dollars ($60,000,000) together
with Plaintiff’s attorneys’ fees and costs of suit.
                                           COUNT X
          VIOLATION OF MINNESOTA UNFAIR PRACTICES STATUTE
       248.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 216 and 234 to 247 as if restated herein in its entirety.

                                                  - 61 -
        Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 62 of 74




        249.   The Minnesota Unfair Practices Statute, Minn. Stat. §80C.14, Subd. 4,
prohibits the termination or cancellation of the franchise relationship unless the franchisor
provides written notice of all the reasons for termination or cancellation at least ninety (90)
days’ notice of the intent to terminate; and the franchisee fails to correct the stated reasons
within sixty (60) days of the notice.
        250.   Defendants, in violation of Minn. Stat. §80C.14, Subd. 4, did not provide the
required notice and cure period to Plaintiffs.           Despite written notice and demand,
Defendants failed to provide with specificity the reasons for termination. To the extent
notice was provided by Defendants it was deficient or not provided in a timely manner
sufficient for Plaintiffs to have corrected or addressed the alleged bases for termination.
        251.   Renewal never provided Dreamstyle with reasonable notice or opportunity to
cure any of the alleged “defaults.” Renewal’s threat to terminate, failure to extend the
durations of the four agreements, and then actual termination are without substantial legal
or factual foundation, are baseless, are made in bad faith, were done with the intention to
harass Plaintiffs and put them out of business, and were done with the illegal and
wrongful motive to steal the markets and the valuable customer lists, phone numbers,
positive customer reviews, domain names and URLs, and to acquire all such items of
property without paying for or at the expense of Plaintiffs. Renewal also has and intends
to wrongfully terminate the four agreements to avoid liability or responsibility for
Andersen and Renewal’s lack of disclosure and registration violations under the Federal
Franchise Rule, Minnesota Franchise Act and the various state antitrust acts enumerated
here.
        252.   Plaintiffs are entitled to rescission of the Four Retailer agreements, rescission
of the Renewal Enabled+ agreement, for an injunction prohibiting Defendants from using,
distributing, or otherwise providing any of Dreamstyle’s prospect / customer database

                                                - 62 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 63 of 74




information to any other Renewal or Andersen affiliate or retailer.
       253.    Plaintiffs are further entitled to all of their damages including but not limited
to Loss of Business Value, Loss of Profits, Loss of their on-line reviews, Re-branding
Expenses, Loss of Productivity, Loss of Customer Database, Loss of their on-line reviews
and the other damages enumerated infra in an amount of no less than sixty-million dollars
($60,000,000) together with Plaintiffs’ attorneys’ fees and costs of suit.
                                            COUNT XI
              WRONGFUL TERMINATION – BREACH OF CONTRACT
       254.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 253 as if restated herein in its entirety.
       255.    Renewal never provided Dreamstyle with adequate notice or reasonable
opportunity to cure any of the alleged “defaults.” Renewal’s threat to terminate, failure
to extend the durations of the four Retailer agreements, and the actual termination are
without substantial legal or factual foundation, are baseless, are made in bad faith, were
done with the intention to harass and damage Plaintiffs and put them out of business, and
were done with the illegal and wrongful motive to steal the markets and the valuable
customer lists, phone numbers, positive customer reviews, domain names, and URLs, and
to acquire all such items of property without paying for or at the expense of Plaintiffs.
       256.    Renewal also has and intends to wrongfully terminate the four agreements
to avoid liability or responsibility for Andersen and Renewal’s lack of disclosure and
registration violations under the Federal Franchise Rule, Minnesota Franchise Act, and
the various state antitrust acts enumerated here.
       257.    Renewal never disclosed that once Dreamstyle had invested tens of millions
of dollars in marketing expenses that Defendants would wrongfully refuse to extend the
agreements, and would unilaterally terminate the agreements without good cause and

                                                  - 63 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 64 of 74




without first providing Plaintiffs an opportunity to cure or correct any alleged deficiencies in
performance or otherwise, and that Defendants would steal the customer lists and exclusive
territories developed by Dreamstyle through years and tens of millions of dollars in
investments so that Defendants could offer the same to one or more of their preferred
“retailers.”
       258.    As a direct and proximate result of Defendants’ actions and wrongful
termination, Plaintiffs have been damaged.
       259.    Plaintiffs are entitled to rescission of the Four Retailer agreements, rescission
of the Renewal Enabled+ agreement, for an injunction prohibiting Defendants from using,
distributing, or otherwise providing any of Dreamstyle’s prospect / customer database
information to any other Renewal or Andersen affiliate or retailer.
       260.    Plaintiffs are further entitled to all of their damages including but not limited
to Loss of Business Value, Loss of Profits, Loss of their on-line reviews, Re-branding
Expenses, Loss of Productivity, Loss of Customer Database and the other damages
enumerated infra in an amount of no less than sixty million dollars ($60,000,000) together
with Plaintiffs’ attorneys’ fees and costs of suit.
                                           COUNT XII
                   TORTIOUS INTERFERENCE WITH CONTRACT
       261.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 260 as if restated herein in its entirety.
       262.    On August 14, 2018, Dreamstyle Remodeling, Inc. entered into a letter of
intent with The Esler Companies, LLC whereby Dreamstyle would sell the Northern
Arizona and Tucson markets to Esler for the sum of seven million dollars ($7,000,000).
       263.    Defendants knew of the pending transaction and sale agreement between
Dreamstyle Remodeling, Inc. and The Esler Companies and intentionally and maliciously

                                                  - 64 -
      Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 65 of 74




interfered with the same prior to the scheduled closing date of October 1, 2018.
       264.   Defendants’ intentional acts were designed to induce a breach of that
contractual relationship and agreement between Dreamstyle and Esler Companies.
Defendants’ actions were not justified.
       265.   As a result of Defendants’ tortious interference, on September 5, 2018, Esler
Companies terminated and cancelled its purchase of the Northern Arizona and Tucson
Markets from Dreamstyle, resulting in the loss of seven million dollars ($7,000,000) in
damages to Dreamstyle.
       266.   In addition to the interference with the sale of the Tucson and Northern
Arizona markets to Esler Companies, Defendants were aware of the existing business
relationship and agreements Dreamstyle had with Kohler and the various Kohler distributors
for the purchase and acquisition of Kohler bath products. Defendants intentionally and
maliciously interfered with those contracts by providing false and misleading information to
Kohler about Dreamstyle and its principal, Larry Chavez.
       267.   Defendants’ intentional and malicious acts were designed to induce a breach
or disruption of the contractual relationship, and there was an actual disruption of the
contractual relationship between Kohler and the various Kohler distributors that Plaintiffs
have agreements with resulting in damages to Dreamstyle in an amount to be proven at trial.
       268.   Defendants have also provided false and misleading information to other third
parties and have caused to be published false and misleading information about Dreamstyle
and Chavez with the intention to interfere with Plaintiffs’ ability to sell window, door, and
other products associated with residential home remodeling projects in the numerous
locations and regions serviced by Plaintiffs.
       269.   The dissemination of false and misleading information by Defendants was
wrongful and done with an evil heart and with the intention to substantially damage

                                                - 65 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 66 of 74




Plaintiffs and to destroy the business of Plaintiffs, their owner Chavez, and the livelihoods
of more than 600 employees.
        270.    In addition to the above, Defendants have engaged in a systematic and
deliberate process and other otherwise maliciously interfered with existing contracts
between Dreamstyle and various third-party vendors, including among others Premier
Marketing, causing them to cease doing business with Plaintiffs.
        271.    Defendants were aware of the existing business relationships and agreements
Dreamstyle had with its third-party vendors and suppliers. Defendants were also aware of
the existing business relationships Plaintiffs had with its prior and prospective customers as
reflected by the thousands of positive customer reviews and ratings.
        272.    Defendants’ intentional and malicious acts were designed to induce a breach
or disruption of the existing and prospective contractual relationships and there was an
actual disruption of the contractual relationships between Premier Marketing, past and
prospective customers, and others that Plaintiffs have agreements with resulting in damages
to Dreamstyle in an amount to be proven at trial.
        273.    As a result of Defendants’ tortious interference, there has been an actual
disruption of the current and potential contractual relationships that Plaintiffs have with their
end-user residential customers resulting in damages to Plaintiffs. Plaintiffs have been
damaged in an amount to be proven at trial but in no event less than $10,000,000 plus
Plaintiffs cost of suit.
        274.    Plaintiffs also seek an award of punitive damages resulting from Defendant’s
evil and wrongful conduct.
                                        COUNT XIII
                                BREACH OF CONTRACT
        275.    Plaintiffs replead and incorporate by this reference each and every paragraph

                                                 - 66 -
        Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 67 of 74




1 to 274 as if restated herein in its entirety.
        276.   In the alternative to the requests for rescission enumerated above, Plaintiffs
allege that Four Retailer Agreements enumerated herein constitute valid and enforceable
contracts.
        277.   Plaintiffs have fully and faithfully performed under the Retailer Agreements
or to the extent Plaintiffs have not such non-performance has been de minimis or such non-
performance has been excused and waived by Defendants actions and conduct.
        278.   Defendants have materially breached each of the four Retailer Agreements in
numerous ways as enumerated above, and including without limitation, refusing without
valid justification to extend the Northern Arizona Agreement, by wrongfully terminating the
Tucson and New Mexico Agreements prematurely effective on January 31, 2019, and by
wrongfully terminating the Boise Agreement without good cause effective January 31,
2019.
        279.   Defendant Renewal materially breached the Retailer Agreement by failing to
timely and fully reimburse and pay Plaintiffs for the warranty and service work performed
by Plaintiffs at Defendant Renewal’s request.
        280.   As a direct and proximate result of Defendants material breaches, Plaintiffs
have been damaged including but not limited to Loss of Business Value, Loss of Profits,
Loss of their on-line reviews, Re-branding Expenses, Loss of Productivity, Loss of
Customer Database and the other damages enumerated infra in an amount of no less than
sixty million dollars ($60,000,000) together with Plaintiffs’ attorneys’ fees and costs of suit.
                                           COUNT XIV
                               FRAUDULENT INDUCEMENT
        281.   Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 280 as if restated herein in its entirety.

                                                  - 67 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 68 of 74




           282.   During the course of the business relationship between Plaintiffs and
Renewal, Renewal made misrepresentations (via false representations, concealment, and
non-disclosure) regarding the intended nature, exclusivity, duration, and renewal rights of
the relationships that Plaintiffs would enjoy under the four Retailer Agreements.
           283.   At the time such misrepresentations were made, Defendants knew of their
falsity.
           284.   Defendants made the misrepresentations to the Plaintiffs for the express
purpose of inducing Plaintiffs to sign the Retailer Agreements and for the purpose of
inducing Plaintiffs reliance on such Retailer Agreements and for the purpose of inducing
Plaintiffs to expend tens of millions of dollars in capital investments to build the Renewal
brand and market share for the benefit of Renewal.
           285.   Plaintiffs relied on the Defendants’ misrepresentations in deciding to enter
into the Retailer Agreements and in expending the tens of millions of dollars in capital
investments to build the Renewal brand and market share for the benefit of Renewal.
           286.   Plaintiffs’ reliance as to the intended nature, exclusivity, duration, and
renewal rights was justified.
           287.   Had the Plaintiffs been aware that Defendants were misrepresenting the
nature of the relationship, Plaintiffs would not have entered into the various Retailer
Agreements or the Enabled+ agreement.
           288.   As a result of Defendants’ misrepresentations, Plaintiffs have been damaged
in an amount to be proven at trial but in no event less than sixty million dollars
($60,000,000) plus Plaintiffs’ cost of suit.
           289.   Plaintiffs also seek an award of punitive damages resulting from Defendant’s
evil and fraudulent conduct.



                                                 - 68 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 69 of 74




                                           COUNT XV
                                   COMMON LAW FRAUD
       290.    Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 289 as if restated herein in its entirety.
       291.    Defendants made material misrepresentations of fact, material omissions of
fact, and engaged in deceptive acts and practices, as set forth above, in connection with and
in order to induce Plaintiffs to enter into the various contractual relationships with
Defendants.
       292.    Defendants knew that their representations, omissions, suppressions and
deceptive acts were false; they engaged in this deceptive activity knowing that their words
and actions were false and misleading; and with the intent that Plaintiffs rely upon them,
that Plaintiffs purchase and acquire the territory rights; and that they execute the agreements
and invest tens of millions of dollars in capital investments to build the Renewal brand and
market share for the benefit of Renewal.
       293.    Plaintiffs   reasonably     relied   upon     these   representations,   omissions,
suppressions and other deceptive acts in deciding to enter into the Retailer Agreements and
the Enabled+ agreement with Renewal and in investing substantial money to develop the
businesses.
       294.    Due to the Defendants’ false representations, omissions, suppressions and
deceptive acts, Plaintiffs have suffered damages in an amount of no less than sixty million
dollars ($60,000,000).
       295.    Defendants’ actions were done intentionally and with an evil heart and evil
mind and were designed to damage and destroy Plaintiffs and the business of Dreamstyle
justifying an award of punitive damages.



                                                    - 69 -
          Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 70 of 74




                                           COUNT XVI
  BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
          296.   Plaintiffs replead and incorporate by this reference each and every paragraph
1 to 295 as if restated herein in its entirety.
          297.   New Mexico, Arizona, and Idaho law implies a covenant of good faith and
fair dealing in all contracts between parties entered into or to be performed in each of those
states.
          298.   The actions of Defendants Renewal and Andersen, and each of them as set
forth hereinabove, are in violation of the implied covenant of good faith and fair dealing and
have caused the Plaintiffs to suffer damages.
          299.   As a result of the actions of Defendants Renewal and Andersen, and each of
them as set forth hereinabove, said Defendants have violated the implied covenant of good
faith and fair dealing as against Plaintiffs herein, and as a result therefore, Plaintiffs are
entitled to damages in an amount of no less than sixty million dollars ($60,000,000).
                                    PRAYER FOR RELIEF
          WHEREFORE, Plaintiffs pray for judgment in their favor and against each
named Defendant, jointly and severally as follows:
          (a)    Finding that Defendants engaged in unlawful and anti-competitive conduct,
in violation of Sections 1 and 2 of the Sherman Act (15 U.S.C. §1 and 2) and Sections 3
and 4 of the Clayton Act (15 U.S.C. §14 and 15);
          (b)    Finding that Defendants engaged in unlawful and anti-competitive conduct
in restraint of trade and commerce;
          (c)    For an Order directing the termination of the anti-competitive conduct and
injunctive relief that restores competition to the markets at issue, including but not
limited to restoring Plaintiffs to the position they would have occupied but for

                                                  - 70 -
       Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 71 of 74




Defendants’ unlawful exclusionary conduct;
       (d)    For an Order prohibiting Defendants from using, disseminating, converting,
or otherwise providing access to any of the 165,500+ Dreamstyle prospects and
customers maintained on the Enabled+ database to any other Renewal Retailer and for an
order preventing Defendants from attempting to convert such prospects into the sale of
Renewal Products. To the extent that Defendants have already mined or otherwise
distributed Dreamstyle’s prospect database to its own marketing departments or other
replacement affiliates, for an order paying Plaintiffs the reasonable value of such
database;
       (e)    For rescission of the Four Retailer Agreements.
       (f)    For Dreamstyle’s direct damages for lost profits, loss of business valuation,
damage to business reputation, loss of its prospect database, costs associated with
launching with one or more new manufacturers, re-branding expenses, and other direct
damages enumerated above in the amount to be proven at trial but in no event less than
sixty million dollars ($60,000,000);
       (g)    Treble Dreamstyle’s aggregate damages of (including lost profits), in an
amount to be determined at trial but in no event less than one hundred eighty million
dollars ($180,000,000);
       (h)    For Dreamstyle’s costs of suit herein, including its attorneys’ fees actually
incurred;
       (i)    For restitutionary relief; and
       (j)    Such other relief as may be just and proper.
                            REQUEST FOR TRIAL BY JURY
       Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs respectfully request trial by jury on all
of the issues pled so triable.

                                               - 71 -
         Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 72 of 74




          DATED this 20th day of November 2019.

                                             BLUFF & ASSOCIATES

                                             _______________________________
                                             Guy W. Bluff, Esq.
                                             Attorneys for Plaintiffs

2019-11-20 Dreamstyle NM Complaint (Final)




                                                - 72 -
 Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 73 of 74




Ex        Date      Description                                  Paragraph

A     1-Feb-2014    Northern Arizona Retailer Agreement (2nd)      31, 41, 75,
                                                                          107
B     1-Jul-2014    San Diego Retailer Agreement                       47, 108

C     1-Nov-2014    Tucson Retailer Agreement (2nd)                    54, 108

D     8-Jun-2015    Boise Retailer Agreement                       59, 76, 110

E     1-May-2015    New Mexico Retailer Agreement (3rd)         27, 28, 29, 62,
                                                                  77, 106, 111
F     8-May-2018    Renewal (Junker) - Notice of Termination         138, 146
                    and List of 9 Violations
G     8-May-2018    Dreamstyle Response to 5/8/2018                        144
                    Termination Letter
H     10-May-2018 Renewal (Junker) - Termination Agreement           144, 181
                  for Signature
I     17-May-2018 Dreamstyle (Chavez) Response to                          144
                  05/17/2018 Renewal (Junker) Letter
J     17-May-2018 Dreamstyle (Bluff) Request for                           145
                  Detailed Explanation of 9 Alleged
                  Violations
K     1-Jun-2018  Renewal (Junker) Response to                             145
                  Dreamstyle's 05/17/2018 Request for
                  Information
L     12-Jun-2018 Renewal (Junker) Notice of                               146
                  Intent to Immediately Terminate
M     17-Jul-2018   Dreamstyle Request to Extend Northern                  147
                    Arizona Agreement
N     24-Jul-2018   Renewal (Junker) - Refusal to Extend /                 147
                    Renew Northern Arizona Agreement
O     6-Sep-2018    Dreamstyle Request to Mitigate                    149 fn7
                    Damages Resulting from Termination

                                     - 73 -
 Case 1:19-cv-01086-KG-JFR Document 1 Filed 11/20/19 Page 74 of 74




Ex       Date       Description                               Paragraph

P     17-Sep-2018 Dreamstyle (Chavez) E-Mail to Renewal          149 fn7
                  (Junker) re Status of Transition and
                  Efforts to Mitigate Damages
Q     18-Sep-2018 Renewal (Junker) Response to Chavez            149 fn7
                  09/17/2018 E-Mail - Sale of Other
                  Products Not Permitted
R     19-Sep-2018 Dreamstyle (Bluff) Response to Junker's        149 fn7
                  09/18/2018 Termination Notice

S     2-Oct-2018    Dreamstyle (Bluff) Transmittal of Draft      149 fn7
                    Mutual Termination Agreement

T     2-Oct-2018    Dreamstyle-RBA Mutual Termination            149 fn7
                    Agreement (V5.3)

U     29-Oct-2018   Renewal (Junker) Termination of All              150
                    Retailer Agreements Effective
                    01/31/2019
V     4-Aug-2014    Renewal (Junker) - Integrity in Hiring       142 fn6
                    Memorandum

W     17-Feb-2018 Summary of Andersen Manufacturing              142 fn5
                  Defects - Hageman Project

X     14-Dec-2017 Renewal (Junker) - Patio Door Update               124
                  Memorandum - Ongoing Quality
                  Problems
Y     5-Jan-2019  Professor of Architecture Alexander            125 fn3
                  Maller complaint of Andersen product
                  quality




                                     - 74 -
